                             45C01-2204-PL-000273                                 Filed: 4/18/2022 2:08 PM
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     USDC IN/ND case 2:22-cv-00137Lakedocument
                                       Circuit Court1-1 filed 05/18/22 page 1 of 87 Lake County, Indiana




                                 STATE OF INDIANA
                           LAKE COUNTY SUPERIOR COURT


MARK MCPHAIL,                                             )
                                                          )
              Plaintiff,                                  )      CAUSE NO.:
                                                          )
       v.                                                 )
                                                          )
THE TRUSTEES OF INDIANA                                   )
UNIVERSITY, KEN IWAMA, in his individual                  )
and official capacities; VICKI                            )
ROMÁN-LAGUNAS, in her individual and                      )
official capacities; and DAVID KLAMEN,                    )
in his individual and official capacities;                )
                                                          )
              Defendants.                                 )
                                                          )

                 COMPLAINT AND DEMAND FOR JURY TRIAL

       NOW COMES the plaintiff, Mark Lawrence McPhail (“Plaintiff” or

“McPhail”), by counsel, and for his Complaint against the defendants, the Trustees

of Indiana University (“IU” or “the University”), Ken Iwama, (“Iwama”), Vicki

Román-Lagunas, (“Román-Lagunas”), and David Klamen (“Klamen”) (collectively

“Defendants”), alleges as follows:

                                       Introduction

1.     On August 1, 2015 IU hired Mark McPhail, an African-American professor of

       Communication, as Executive Vice Chancellor for Academic Affairs for the IU

       Northwest campus, and simultaneously as a tenured full professor (the

       highest academic rank) in IU Northwest’s Department of Communication.
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       McPhail resigned from the administrative position in 2016 and assumed a

       faculty position.

2.     After McPhail criticized the administration for lack of adherence to

       university policies and held a forum in which he said IU Northwest’s campus

       climate contributed to racial disparities, Defendants banned him from

       teaching and reduced his salary by 70%. When he appealed, Defendants

       terminated his employment abruptly and without a hearing, substantially

       damaging if not ending his career.

3.     McPhail brings this action for breach of contract, intentional interference

       with contract, violation of the First Amendment to the United States

       Constitution, negligence per se for violation of IC 21-39-3 (“the Academic

       Whistleblower Statute”), violation of the Due Process Clause of the

       Fourteenth Amendment, and discrimination and retaliation as prohibited by

       the Civil Rights Act of 1866.


                                       Parties

4.     From August of 2015 until September of 2021, McPhail was employed at IU.

       He currently resides in Michigan.

5.     At all times relevant hereto, Román-Lagunas and Klamen were employees of

       IU.

6.     Iwama was appointed Chancellor of IU Northwest in 2020, and since that

       time has served as the chief administrative officer of the IU Northwest

       campus.

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7.      At all times relevant hereto, IU was a public educational institution

        established under Title 21, Article 20 of the Indiana Code.

                       Jurisdiction, Venue & Cause of Action

8.      This action is authorized and instituted pursuant to Indiana statutory and

        common law.

9.      This Court is a court of general jurisdiction, and thereby has jurisdiction over

        Plaintiff’s federal claim.

10.     Lake County, Indiana is an appropriate venue for this action by virtue of

        Trial Rule 75 because Indiana University Northwest is located here, most of

        the actions alleged occurred here, and most of the evidence relevant to this

        action is likely to be located here.

                                     Factual Allegations

11.     In 1987, McPhail earned a Doctor of Philosophy in Communication from the

        University of Massachusetts. Thereafter, he served in several faculty and

        academic administrative positions, published widely, and spoke in numerous

        domestic and international academic conferences.

12.     In May of 2015, IU and McPhail entered into an employment contract

        through which IU Northwest hired McPhail as the Executive Vice Chancellor

        for Academic Affairs (“EVCAA”) as well as a tenured Professor of

        Communication. Exhibit H, attached hereto.

13.     Shortly thereafter, the IU Northwest Communication Department Chair, the

        College of Arts and Sciences Promotion and Tenure Committee as well as the



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        Campus Promotion and Tenure Committee reviewed McPhail’s record of

        teaching, research and administrative background and unanimously

        supported his promotion to the rank of full professor of Communication.

14.     Through his employment contract with IU, McPhail was assured a number of

        substantive and procedural employment rights, including those reflected in

        Exhibits A through G to this Complaint.

15.     Among those employment policies is IU’s Academic Freedom policy, which

        guaranteed academic appointees the freedom “to express views on matters

        having to do with the university and its policies, and on issues of public

        interest generally.” Policy ACA-32. Exhibit A.

16.     IU also protects the right of faculty to raise concerns about wrongful conduct

        through UA-04, IU’s Whistleblower Protection Policy. Ex. B.

17.     IU also guaranteed tenured faculty several procedural protections as

        prerequisites to the imposition of discipline and termination. Exs. C-G.

18.     McPhail served as EVCAA from May of 2015 until July 31, 2016. At that

        point, he resigned due to the fact that then-Chancellor Lowe undermined his

        authority and resisted his attempts to implement certain IU policies.

19.     McPhail was then appointed to the faculty position for which he was

        approved at his hire, that of Professor of Communication.

20.     After McPhail’s resignation, Román-Lagunas assumed the EVCAA position

        following the interim appointment of Anna Sue Rominger and continues in

        that position to this day.



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21.     On April 18, 2018 McPhail organized a public forum titled “Diversity: An

        unfulfilled promise at IU Northwest.” The forum highlighted challenges faced

        by black students at IU Northwest, especially in the area of retention, and

        identified ways in which IU Northwest had failed to support those students.

        Several members of the Indiana Black Legislative Caucus of the Indiana

        state legislature spoke at the forum, as did McPhail.

22.     During the forum, McPhail presented a report highlighting findings of the

        Gary Commission (“the Commission”) on the Social Status of Black Males. He

        presented the Commission’s statistical reports about achievement gaps along

        racial and socioeconomic lines and its recommendation that Universities

        provide comprehensive supports for at-risk students.” McPhail highlighted

        the fact that the diversity of the staff, faculty and student population on

        campus is important to the campus’s success in retention, and that

        overemphasis on institutional “diversity” initiatives can obscure or frustrate

        progress.

23.     In the summer of 2018, IU Northwest announced that the Departments of

        Fine Arts and Performing Arts would be merged with the Communication

        Department, removed from the College of Arts and Sciences (“COAS”) and

        placed in a new School of the Arts. IU Northwest hired Klamen, the former

        Associate Dean of COAS and former Chair of the Department of Fine Arts

        and Performing Arts, into the role.




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24.     On August 1, 2018 McPhail contacted IU Northwest’s EEO Director, Aneesah

        Ali (“Ali”) by phone and by electronic mail and alleged that Klamen was

        appointed to the position without a search and without any transparency in

        violation of IU’s requirement that it make hiring decisions “based upon

        [applicants’] individual qualifications,” as required by UA-01, IU’s Non-

        Discrimination/Equal Opportunity/Affirmative Action policy.

25.     The next spring, Bonita Neff (“Neff”) then-Chair of the Communication

        Department filed a complaint with the Faculty Board of Review alleging that

        Klamen’s appointment violated IU policies.

26.     Klamen, who was Neff’s direct supervisor, initiated termination proceedings

        against her within less than two weeks after her complaint, Román-Lagunas

        supported his recommendation, and Iwama made the final decision, rejecting

        the recommendation of the Faculty Board of Review.

27.     As for McPhail, after he complained about Klamen’s appointment, the

        University transferred him to the IU Bloomington for a two-year project.

        During the 2019-20 academic year, McPhail began making preparations for

        his return, and sought course assignments from Klamen. Klamen was non-

        responsive, so McPhail sought answers from Román-Lagunas. Contrary to

        standard practice, Klamen made unilateral course assignments nearly four

        months after McPhail began requesting them and shortly before the semester

        was to begin, without even discussing the assignments with McPhail.




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28.     Klamen refused to communicate with McPhail starting on or about March 26,

        2020 regarding his teaching assignment for the fall semester despite

        repeated requests to the Dean’s representative and the EVCAA.

29.     On July 14, 2020, McPhail filed a charge with the Gary Commission on

        Human Relations (“the July 2020 Gary Commission complaint”) alleging that

        Klamen and Román-Lagunas refused to assign him courses despite repeated

        requests because he had alerted IU that the appointment of David Klamen

        violated the University’s EEO policy. In that charge, he alleged that

        Respondent adopted hiring practices that privileged white employees in

        appointment to high-level administrative positions.

30.     McPhail taught in the Communication Department during the 2020-21

        academic year.

31.     In July of 2021, at the first opportunity for formal evaluation following

        McPhail’s July 2020 Gary Commission complaint, Klamen issued McPhail a

        performance evaluation characterizing his teaching as inadequate. The

        evaluation relied on criteria such as McPhail’s “reputation as a teacher,”

        which Klamen gleaned from unspecified “reports,” and the contention that

        McPhail issued failing grades to too many students.

32.     McPhail responded to Dean Klamen’s evaluation, providing context for some

        of the stated concerns and asking for specifics and guidance. He noted, among

        other things, that the students who received failing grades in the course did




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        not submit the work required, and asked for suggestions about how he could

        lower the number of failing grades without lowering standards.

33.     Dean Klamen provided none of the clarification McPhail requested and made

        no corrections to the report, instead characterizing McPhail’s attempt to

        defend his performance as a violation of the Code of Academic Ethics. In

        response to McPhail’s contention that the students who received failing

        grades did not complete the required work, Klamen responded, “I find it

        inappropriate that you attempt to shift blame to students for your own

        professional shortcomings.” He concluded, “Given that your responses and

        desire to shift blame to the student do not mitigate these concerns, I am

        recommending to the Executive Vice Chancellor that you teach no classes this

        upcoming semester.”

34.     The next day, Executive Vice Chancellor Vicki Román-Lagunas concurred

        with Dean Klamen’s recommendation, suspended McPhail from teaching for

        the fall semester and reduced his salary by 75%. On information and belief,

        Román-Lagunas made the final decision on this suspension.

35.     On August 30, 2021 the American Association of University Professors

        (“AAUP”) wrote to Iwama expressing concern about the suspension, noting

        that McPhail was not provided a hearing before his peers before issuing the

        sanction.

36.     Iwama ignored the AAUP’s letter.




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37.     McPhail appealed the decision to the Faculty Board of Review (“FBR”) on

        September 13, 2021, alleging that the suspension violated several policies. He

        alleged that the decision was in retaliation for his complaints about Klamen’s

        appointment and his complaints about racial discrimination and retaliation.

38.     In that September 13, 2021 appeal, McPhail also alleged that by creating a

        new School within the College of Arts and Sciences and appointing Klamen

        as Dean without any timely consultation with faculty and without creating a

        search committee, IU and Román-Lagunas violated the requirements of ACA-

        79, Merger, Reorganization and Elimination of Academic Units and Programs

        Involving Core Schools; BL-ACA-B12, Search and Screen Procedures for

        Campus Administrators; and EEO guidelines. He explained, “The

        Administration engaged the faculty only after the fact and had created the

        School based upon an arrangement between the EVCAA and Dean that

        clearly violated EEOC guidelines and ACA-79.”

39.     The next day, on September 14, 2021, IU terminated McPhail’s employment

        and informed him of the termination in a dramatic and humiliating manner,

        by sending police to his home with the termination letter.

40.     In the letter, Román-Lagunas cited as the purported reason for the

        termination that McPhail made “a threat of physical violence.” She wrote

        that Iwama had “been consulted and he agrees that these are exigent

        circumstances for which dismissal is warranted.”




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41.     Dumbfounded by this accusation, McPhail asked for further information

        about what he was being accused of. IU informed McPhail that he was

        terminated because he was reported to have said “words to the effect that ‘the

        only way to end racism is to kill all the white people.’”

42.     McPhail never said words to that effect. Specifically, McPhail did not

        threaten to kill any people, nor did he say anything that could reasonably

        construed as calling for such a thing. On the contrary, McPhail published

        scholarship in which he characterized it as problematic that the catalyst for

        several significant civil rights victories was the death of white individuals.

43.     When pressed for further details, IU’s Senior Associate General Counsel

        Marcia Gonzales wrote,

           Prof. McPhail’s statement was reported directly by a very concerned
           member of the IUN Community to EVCAA Roman-Lagunas on or
           about September 10th and the report was made in confidence.
           During this same week, Dean Klamen was also advised
           confidentially by a colleague that he should avoid Prof. McPhail for
           fear that an ‘incident’ may result and that he should be very
           concerned if he were to encounter him in person. . . . [I]n both cases,
           each person reported that Prof. McPhail was very angry.

44.     Neither individual has been identified, nor has McPhail ever been informed

        whether there was any objective basis for the fears allegedly expressed to

        Klamen.

45.     IU also declared McPhail’s appeal of his salary reduction and ban from

        teaching as moot.

46.     On November 29, 2021, the FBR nonetheless decided the appeal, finding that

        the salary reduction and teaching ban failed to adhere to IU’s post-tenure

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        review policy. The FBR recommended that McPhail’s salary and position be

        restored.

47.     On January 28, 2022, Iwama rejected the FBR’s recommendation and

        affirmed McPhail’s salary reduction and teaching ban.

48.     McPhail’s appeal of his termination is pending.

49.     On February 5, 2022 McPhail sent certified mail notice of his claims to the

        Trustees of Indiana University and to the Indiana Political Subdivision Risk

        Management Commission.

50.     On April 12, 2022 the AAUP wrote to Iwama again, expressing “grave

        concern” about IU’s having terminated the employment of a tenured professor

        without a hearing. The AAUP characterized a pre-dismissal hearing as an

        “indispensable safeguard to academic freedom” and that failure to provide

        one “effectively renders tenure all but meaningless at the university.”

51.     The termination has been devastating to McPhail’s once brilliant career.

        McPhail has since applied to many academic and administrative positions

        and has not received any offers.

52.     As a result of the above-described actions, Plaintiff suffered and continues to

        suffer damages that include restricted speech, loss of salary, loss of job

        opportunities, damage to reputation, humiliation, severe emotional distress,

        litigation expenses, attorney fees, and other compensatory damages.




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                                     Legal Claims

                                       Count I
                                  Breach of Contract
                                    McPhail v. IU

53.     Each paragraph of this Complaint is incorporated as if fully restated herein.

54.     The University’s academic policies (reflected in part by Exhibits A-G) contain

        clear promises and mutual obligations. These documents were among the

        policies explicitly incorporated into McPhail’s employment contract. Ex. H. At

        all relevant times, they were available on IU’s website.

55.     IU breached its employment contract with McPhail when it removed him

        from teaching, reduced his salary by 70%, and terminated his employment.

56.     When McPhail raised concerns about the racial climate on the IU Northwest

        campus and procedural violations relating to Klamen’s hire, he was

        exercising his right as a professor to “express views on matters having to do

        with the university and its policies, and on issues of public interest

        generally.” Ex. A.

57.     IU took the adverse actions described in this Count because of that protected

        speech, violating its Academic Freedom Policy. Ex. A.

58.     The adverse actions also violate IU’s Whistleblower Protection Policy, which

        prohibits retaliation “against anyone who has made a good faith report of

        wrongful conduct.” Ex. B.




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59.     IU’s procedural protections prohibit discipline or termination of tenured

        faculty members accused of inadequate performance without affording them

        notice and a chance to improve. Ex. F at § C; Ex. G ¶¶ 2, 5, 8.

60.     Prior to reducing McPhail’s salary by 70%, IU did not follow the requirements

        of the University’s Faculty and Librarian Annual Reviews policy. Ex. F at §

        C. Specifically, Klamen’s July 2021 review of McPhail’s teaching a) did not

        provide for peer review of McPhail’s teaching, and b) was not intended nor

        used to “facilitate communication, openness, fairness, and faculty

        participation in merit-based salary decisions.” Instead, Klamen raised a

        number of concerns and then reprimanded McPhail when he defended

        himself against some of those concerns and asked for clarification about

        others.

61.     IU also violated its post-tenure review policy, which provides that reviews

        “must be clearly aimed at performance enhancement” rather than as a

        punishment for performance inadequacies.” Ex. G p. 1 (emphasis in original).

62.     IU is required to develop defined standards of performance, provide faculty

        with notice of those standards, and provide a review process following

        notification of “persistent substandard performance over at least two or more

        consecutive annual reviews.” Ex. G ¶ 5.

63.     The review committee which administers that process must consist

        exclusively of faculty members, must provide the faculty member with

        findings as to any deficiencies and then must work with the faculty member



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        to create a development plan. Id. The faculty member is also afforded the

        right to appeal during this process. Id.

64.     Defendants did not follow any of these procedural protections before

        suspending and terminating McPhail.

65.     IU’s procedural protections also prohibit discipline or termination of tenured

        faculty members accused of misconduct without first affording them the right

        to defend themselves in a hearing after being apprised of the full details of

        the accusations against them. Ex. C at § B(I); Ex. D at § D; Ex. E at § II; Ex.

        G ¶¶ 2, 5, 9.

66.     AC-52 guarantees the faculty member up for dismissal the right to “[a]

        statement with reasonable particularity of the ground proposed for the

        dismissal.” Ex. D § D(2). Similarly, the IU Northwest Dismissal Procedures

        provide that a faculty member to whom formal notice of dismissal

        proceedings has been issued “is entitled to full access to all relevant

        information regarding the case possessed by the dean or other administrative

        officers, including the names and location of all witnesses. No information to

        which the faculty member or librarian is denied access shall be used by the

        administration.” Ex. E p. 7.

67.     IU did not provide McPhail with notice of the allegations or evidence against

        him, nor an opportunity to defend himself, prior to terminating his

        employment.




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68.     The IU Northwest Dismissal Procedures provide for detailed informal and

        formal review processes and a hearing prior to termination. Ex. E. § II.

        Similarly, ACA-52(D) requires specific notice of grounds for a hearing and a

        hearing as prerequisites to termination. Ex. D. IU dispensed with those

        procedures entirely. Instead, Román-Lagunas simply issued a letter, copied

        to Klamen and Iwama, informing McPhail that his employment was

        terminated.



                                     Count II
                       Tortious Interference with Contract
                   Against Iwama, Román-Lagunas and Klamen
                          in their individual capacities

69.     Each paragraph of this Complaint is incorporated as if fully restated herein.

70.     IU and McPhail were parties to a valid and enforceable employment contract

        which included the documents attached as Exhibits A-G.

71.     Iwama, Román-Lagunas and Klamen knew of the existence of this contract.

72.     Iwama, Román-Lagunas and Klamen intentionally induced breach of

        McPhail’s employment contract by developing and implementing ad hoc

        procedures which were not reflected in IU policies to exclude McPhail from

        the University.

73.     Iwama, Román-Lagunas and Klamen induced these breaches without

        justification.

74.     The actions of Iwama, and Klamen were unauthorized and exceeded the

        scope of their authority.

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75.     The individual defendants’ inducement of a breach caused McPhail to suffer

        lost salary and benefits, severe emotional distress, attorneys’ fees, and

        litigation costs.


                                      Count III
                            First Amendment Retaliation
                               (42 U.S.C. §§ 1983, 1985)
                               Against all Defendants

76.     Each paragraph of this Complaint is incorporated as if fully restated herein.

77.     Plaintiff’s August 1, 2018 and September 13, 2021 speech about

        administrative circumvention of faculty and the equal opportunity policy in

        the appointment of administrators related to matters of public concern and

        was protected under the First Amendment to the U.S. Constitution.

78.     Plaintiff’s speech about the racial dynamics on IU Northwest’s campus

        related to matters of public concern and was protected under the First

        Amendment to the U.S. Constitution.

79.     Plaintiff’s right to voice his concerns outweighed any interest of Iwama,

        Román-Lagunas and Klamen in suppressing that speech.

80.     Acting under the color of law, Román-Lagunas and Klamen used their

        authority as EVCAA and Dean to suspend McPhail from teaching and

        terminate his employment.

81.     Román-Lagunas and Klamen took the actions alleged in order to punish

        Plaintiff for the protected activity alleged and preclude him from further

        speech along those lines.



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82.     In approving the recommendations of Román-Lagunas and Klamen, Iwama

        acted with deliberate indifference to Plaintiff’s clearly established right to

        criticize public officials and institutions.

83.     Plaintiff’s protected speech was a substantial motivating factor in

        Defendants’ actions.

84.     Were it not for Plaintiff’s protected speech, Defendants would not have taken

        the actions alleged herein.

85.     Plaintiff seeks relief in the form of reinstatement from IU and from Iwama,

        Román-Lagunas and Klamen in their official capacities. He seeks monetary

        damages from Iwama, Román-Lagunas and Klamen in their individual

        capacities.


                                       Count IV
                                   Negligence Per Se
                                     McPhail v. IU

86.     Each paragraph of this Complaint is incorporated as if fully restated herein.

87.     On August 1, 2018 McPhail reported to Ali that IU violated state rules by

        hiring Klamen without any faculty involvement. Ali copied Román-Lagunas

        in her response to that complaint.

88.     On September 13, 2021, McPhail alleged that by creating a new School and

        appointing Klamen as Dean without any timely consultation with faculty, IU

        and Román-Lagunas violated IU’s EEO policy.




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89.     IU had a clear statutory duty pursuant to the Academic Whistleblower

        Statute, IC 21-39-3, to refrain from disciplining and terminating McPhail for

        his report of violations of state law.

90.     IU did not discipline or terminate McPhail’s employment on the claim that he

        filed a knowingly false report.

91.     Because of McPhail’s August 1, 2018 and September 13, 2021 complaints, IU

        reduced his salary, banned him from teaching, and terminated his

        employment.



                                      Count V
                  Violations of Right to Procedural Due Process
                              (42 U.S.C. §§ 1983, 1985)
                              Against all Defendants

92.     Each paragraph of this Complaint is incorporated as if fully restated herein.

93.     McPhail had a protected property interest in his tenured position at IU.

94.     Before terminating McPhail’s employment, Defendants did not provide him

        with oral or written notice of the allegations against him, did not provide him

        an explanation of any evidence against him, and did not provide him the

        opportunity to tell his side of the story to an impartial decisionmaker.

95.     In recommending and approving McPhail’s termination, Iwama, Román-

        Lagunas and Klamen acted with deliberate indifference to Plaintiff’s rights.

96.     Plaintiff’s pending appeal will not provide a meaningful post-termination

        remedy because a) McPhail still has not been provided an explanation of the

        evidence against him nor an opportunity to respond to that evidence by

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        presenting his side of the story and b) Iwama has authority to accept or reject

        the recommendation of the Faculty Board of Review, so the post-termination

        appeal will therefore not be decided by an impartial decisionmaker.

97.     Plaintiff seeks relief in the form of reinstatement from IU and from Iwama,

        Román-Lagunas and Klamen in their official capacities. He seeks monetary

        damages from Iwama, Román-Lagunas and Klamen in their individual

        capacities.


                                     Count VI
                               Race Discrimination
               Civil Rights Act of 1866, 42 U.S.C. §§ 1981, 1983, 1985
                             Against All Defendants

98.     Each paragraph of this Complaint is incorporated as if fully restated herein.

99.     IU terminated McPhail’s employment on the purported basis that he

        threatened to commit genocide against white people.

100.    McPhail’s research on race and racism has focused on reconciliation and

        racial justice, and he has never said or suggested that anyone should kill

        white people.

101.    Defendants relied on stereotypes of black men as irrationally angry and

        violent to exile McPhail from the University permanently.

102.    McPhail’s race was a motivating factor in Defendants’ decision to discharge

        him.

103.    Plaintiff seeks relief in the form of reinstatement from IU and from Iwama,

        Román-Lagunas and Klamen in their official capacities. He seeks monetary



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       damages from Iwama, Román-Lagunas and Klamen in their individual

       capacities.


                                   Count VII
          Retaliation for Allegations of Employment Discrimination
             Civil Rights Act of 1866, 42 U.S.C. § 1981, 1983, 1985
                            Against All Defendants


104.   Each paragraph of this Complaint is incorporated as if fully restated herein.

105.   Plaintiff engaged in statutorily protected activity by filing the July 2020 Gary

       Commission complaint.

106.   Pursuant to McPhail’s first employment evaluation following that complaint,

       Klamen and Román-Lagunas reduced McPhail’s salary by 70% and

       terminated his employment shortly thereafter.

107.   Defendants would not have taken these adverse actions were it not for

       Plaintiff’s complaint.

108.   Plaintiff seeks relief in the form of reinstatement from IU and from Iwama,

       Román-Lagunas and Klamen in their official capacities. He seeks monetary

       damages from Iwama, Román-Lagunas and Klamen in their individual

       capacities.

WHEREFORE Plaintiff respectfully requests the following relief:

1.     Reinstatement to his tenured position (against IU and the individual

       defendants in their official capacities);

2.     Compensation for lost salary;

3.     Prejudgment interest;


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4.     Emotional distress damages;

5.     Punitive damages (against the individual defendants in their personal
       capacities);

6.     Attorney’s fees;

7.     Litigation expenses; and

8.     Such other relief as law and justice allow.



                          REQUEST FOR TRIAL BY JURY


       Plaintiff hereby requests a trial by jury with respect to any issues so triable.


        WHEREFORE, Plaintiff prays that this Court grant judgment against

Defendants in an amount commensurate with their damages, punitive damages,

interest as allowed by law, and all other relief just and proper in the premises.


Dated: April 18, 2022                    Respectfully submitted,


                                         /s/ Christopher S. Stake
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                                         Illinois Attorney No.: 6286541 (application
                                         for pro hac vice admission forthcoming)
                                         P.O. Box 6779
                                         Chicago, IL 60680
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Academic Freedom
ACA-32




                                                                                            Exhibit A
Scope
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Policy Statement

Reason for Policy

Procedures

History



About This Policy

Effective Date:
05-17-1966

Date of Last Review/Update:
04-23-2019

Responsible University Office:
University Faculty Council

Responsible University Administrator:
Provost/Chancellors of each campus




Policy Contact:
Director of Faculty Council Office
ufcoff@indiana.edu

Policy Feedback:
If you have comments or questions about this policy, let us know with the policy feedback form
</contact/index.html> .



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Scope
All academic appointees with teaching, research, or librarianship responsibilities, including visiting,
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adjunct, acting and part-time faculty.

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Policy Statement
A. Academic freedom, accompanied by responsibility, attaches to all aspects of a teacher’s
  professional conduct. The teacher shall have full freedom of instruction, subject to adequate
  fulfillment of other academic duties. No limitation shall be placed upon the teacher’s freedom of
  exposition of the subject in the classroom or on the expression of it outside. The teacher should not
  subject students to discussion in the classroom of topics irrelevant to the content of the course.

B. Academic freedom, accompanied by responsibility, attaches to all aspects of a librarian’s
  professional conduct. No censorship shall be imposed on the librarian’s freedom to select and
  make available any materials supporting the teaching, research, and general learning functions of
  the academic community.

C. Academic freedom, accompanied by responsibility, attaches to all aspects of a researcher’s
  professional conduct. The researcher shall have full freedom of investigation, subject to adequate
  fulfillment of other academic duties. No limitation shall be placed upon the subject matter of the
  research, its publication and dissemination, or the expression of it outside the university.

D. Academic freedom includes the freedom to express views on matters having to do with the
  university and its policies, and on issues of public interest generally. When faculty write or speak as
  citizens, they should avoid appearing to be speaking for the university. They should recognize that a
  professional position in the community involves the obligation to be accurate, to exercise
  appropriate restraint, and to show respect for the right of others to express their views.

E. This policy does not override promotion and tenure guidelines, nor other university policies
  concerning academic ethics and misconduct.

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Reason for Policy
Academic freedom is central to the mission of the university. Knowledge cannot be advanced unless
faculty and librarians have freedom to study and communicate ideas and facts, including those that
are inconvenient to political groups or authorities, without fear of recrimination.

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Procedures

Cases involving alleged impairment of academic freedom shall be referred to the appropriate campus
Board of Review and addressed according to its established procedure.
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History
Enacted by University Faculty Council, May 17, 1966.
Amended by University Faculty Council, May 30, 1976; April 23, 2019.
Endorsed by Board of Trustees, Nov.4, 2005.

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Whistleblower Protection
UA-04




                                                                                             Exhibit B
Scope
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Policy Statement

Reason for Policy

Procedures

Definitions

History

Related Information



About This Policy

Effective Date:
04-23-2007

Date of Last Review/Update:
07-26-2021

Responsible University Office:
University Compliance Office

Responsible University Administrator:
President, Indiana University




Policy Contact:
Mike Jenson
Chief Compliance Officer
University Compliance
mjenson@iu.edu

Policy Feedback:
If you have comments or questions about this policy, let us know with the policy feedback form
</contact/index.html> .
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                             policy
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Scope
A. This policy applies to all Indiana University units and Members of the University Community.

B. This policy does not apply to alleged NCAA violations. These allegations should be directed to
  campus athletics compliance officials.

Back to top
Policy Statement

Indiana University provides protection for any Member of the University Community who makes a
good faith disclosure of suspected wrongful conduct. Providing this protection:

A. Encourages an atmosphere that allows individuals to meet their obligations to disclose violations of
  law and serious breaches of conduct covered by university policies;

B. Informs individuals how allegations of wrongful conduct may be disclosed;

C. Protects individuals from retaliation by adverse action taken by an Indiana University employee or
  official as a result of having disclosed wrongful conduct; and

D. Provides individuals who believe they have been subject to retaliation for reporting wrongful
  conduct with a means of seeking relief from retaliatory acts that fall within the authority of Indiana
  University.

Back to top
Reason for Policy

A. Indiana University’s Principles of Ethical Conduct <https://principles.iu.edu/> state that Members
  of the University Community are expected to abide by state and federal laws and regulations as well
  as university policies. Furthermore, an Indiana University employee cannot be compelled by a
  supervisor or university official to violate a law or university policy. The interests of the university
  are served when individuals who have knowledge of specific acts which the individual reasonably
  believes violates the law or university policy discloses those acts to an appropriate university
  official.

B. With regard to university employees, this policy supplements Indiana state statute IC 21-39-3
  <http://iga.in.gov/legislative/laws/2014/ic/titles/021/articles/039/chapters/003/> and
  protects IU employees who make a good faith report from retaliatory academic or employment
  action, including discharge, reassignment, demotion, suspension, harassment, or other
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  discrimination.

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Procedures
A. Violations of law or policy should be reported promptly to appropriate university officials.
  Depending on the circumstances, reports can be made to any of the offices below. Reports to the
  units listed for all complaints will be routed for follow-up as appropriate.



    Type of
                      Responsible Office(s)
    Complaint




    All compaints        Supervisors or other management personnel
    Depending on         University or campus offices responsible for the policy area
    the subject          <https://compliance.iu.edu/compliance-areas/index.html>
    matter, a            University Compliance Office
    complaint may        <https://compliance.iu.edu/contact/index.html>
    be addressed         Internal Audit <https://audit.iu.edu/contact/index.html>
    to one of the        The Anonymous Reporting Hotline
    offices below.       <https://secure.ethicspoint.com/domain/media/en/gui/17361/index.html>




    Discrimination,
    Harassment,       Office of Institutional Equity <https://equity.iu.edu/report-
    or Sexual         incident/index.html>
    Misconduct



    Research          Office of Research Compliance
    Misconduct        <https://research.iu.edu/compliance/misconduct/index.html>
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    Misconduct     Controller's Office <https://controller.iu.edu/contact>
    and Fraud


    Programs
                       Public Safety and Institutional Assurance <https://protect.iu.edu/police-
    Involving
                       safety/report-concern/index.html>
    Children


    Formal
    grievances
    under
                       Campus Human Resources <https://hr.iu.edu/welcome/contact-address.htm>
    employee
    grievances
    procedures




B. University employees may also make a report to any official or agency entitled to receive a report
  from the state ethics commission under Indiana Code 4-2-6-4(b)(2)
  <https://codes.findlaw.com/in/title-4-state-offices-and-administration/in-code-sect-4-2-6-
  4.html> , sections J and K.

C. Individuals should make a reasonable attempt to ascertain the correctness of any information;
  however, individuals are not required or expected to confront the individual or unit believed to be
  responsible for the wrongful conduct.

D. Individuals who believe they have been subjected to an adverse action based on having made or
  provided information about or participated in the investigation of a good faith report of alleged
  wrongful conduct may contest the action by filing a written complaint with the Office of the Vice
  President and University Counsel, the Chief Compliance Officer, campus human resources or
  Indiana University Human Resources, the campus chief officer for academic affairs, or the campus
  chief officer for student affairs.

E. Retaliation against anyone who has made a good faith report of wrongful conduct, provided
  information, or participated in an investigation into a good faith report of wrongful conduct is
  prohibited by the university and may be considered and addressed as a potential violation of this
  policy or other applicable university policies.

F. An individual may be subject to disciplinary actions, including suspension or dismissal in the case of
  academic appointees, staff, and part time employees or suspension or expulsion in the case of
  students, for knowingly furnishing false information. Depending on the individual and
  circumstances involved, disciplinary action will be undertaken by the campus human resources
  office or Indiana University Human Resources (staff and part time employees), the campus chief
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  academic officer (academic appointees), or the campus chief student affairs officer (students).

G. Nothing in this policy is intended to interfere with bona fide employment and operational decisions.

H. Nothing in this policy shall be construed in such a way as to conflict with other reporting obligations
  under state or federal law or the provisions and protection of the Indiana Code.




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Definitions
Wrongful Conduct: A violation of applicable state and/or federal laws and regulations; a serious
violation of university policy; or the use of university property, resources, or authority for personal
gain or another purpose that does not promote the university’s interests.

Members of the University Community: Any individual who is a student, staff, part time employee,
academic appointee, university official, or any other individual employed by, or acting on behalf of, the
university; other individuals while on Indiana University property, including employees of third-party
vendors and contractors, volunteers, and visitors.

Retaliation: Acts of retaliation include intimidation, threats, and/or harassment, whether physical or
communicated verbally or via written communication (including the use of e-mail, texts, and social
media), as well as adverse changes in work or academic environments, or other adverse actions or
threats.

Good Faith Report: An allegation of wrongful conduct made by an individual who believes that
wrongful conduct may have occurred. An allegation is not in good faith if it is made with reckless
disregard for or willful ignorance of facts that would disprove the allegation.

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History
This policy went into effect on April 23, 2007, and was updated on October 25, 2019, and July 26,
2021.
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Related Information
Principles of Ethical Conduct <https://principles.iu.edu/>

<https://secure.ethicspoint.com/domain/en/report_custom.asp?clientid=17361>
<https://secure.ethicspoint.com/domain/en/report_custom.asp?clientid=17361> IU Anonymous
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Reporting Hotline <https://secure.ethicspoint.com/domain/media/en/gui/17361/index.html>

</policies/aca-30-research-misconduct/index.html>
</policies/aca-30-research-misconduct/index.html> ACA-30 Research Misconduct
<https://policies.iu.edu/policies/aca-30-research-misconduct/index.html>

</policies/fin-acc-30-fiscal-misconduct/archived-03012005-08262021.html>
</policies/fin-acc-30-fiscal-misconduct/archived-03012005-08262021.html> FIN-ACC-30, Fiscal
Misconduct <https://policies.iu.edu/policies/fin-acc-30-fiscal-misconduct/index.html>

</policies/fin-acc-35-fraud/index.html>
</policies/fin-acc-35-fraud/index.html> FIN-ACC-35, Fraud <https://policies.iu.edu/policies/fin-
acc-35-fraud/index.html>

IC 21-39-3, Higher Education, Protection of Employees Reporting
Violations http://iga.in.gov/legislative/laws/2014/ic/titles/021/articles/039/chapters/003/
<http://iga.in.gov/legislative/laws/2014/ic/titles/021/articles/039/chapters/003/>
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  Code of Academic Ethics
  ACA-33




                                                                                                          Exhibit C


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  Scope

  Policy Statement

  History

  Related Information

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  About This Policy

  Eﬀective Date:
  11-03-1970
  See current policy <index.html>

  Date of Last Review/Update:
  09-12-2009

  Responsible University Oﬃce:
  Faculty Council

  Responsible University Administrator:
  University Faculty Council,
  Board of Trustees, Indiana University


  Policy Contact:
  ufcoﬀ@indiana.edu

  Policy Feedback:
  If you have comments or questions about this policy, let us know with the policy feedback
  form </contact/index.html> .



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  Scope




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  The provisions of this Code apply to persons whose service to the University includes
  teaching, scholarship, librarianship, and academic administration. Such persons are referred
  to in the Code as “Academic Personnel.” References in the Code to “Faculty” include tenured
  members of the faculty, librarians, and persons whose service to the University may lead to
  tenure.

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  Policy Statement
  PREAMBLE

  The central functions of an academic community are learning, teaching, and scholarship. They
  must be characterized by reasoned discourse, intellectual honesty, mutual respect, and
  openness to constructive change. By accepting membership in this community, an individual
  neither surrenders rights nor escapes fundamental responsibilities as a citizen, but acquires
  additional rights as well as responsibilities to the entire University community. They do not
  require the individual to be passive and silent. They do require recognition of how easily an
  academic community can be violated.

  INTRODUCTION

  Organization. This Code contains two major sections: ﬁrst, a statement of rights and
  responsibilities; and second, a statement of enforcement procedures. The ﬁrst section is
  divided into three subsections. Of these, the ﬁrst subsection, in seven parts, is a general
  statement of the rights and responsibilities of Academic Personnel adapted from the
  “Statement of Professional Ethics” adopted as policy by the American Association of
  University Professors in April 1966. The second subsection consists of representative
  responsibilities assumed with academic employment at Indiana University. The third
  subsection consists of the rules of conduct outlined in the prevailing Code of Student Rights,
  Responsibilities, and Conduct <http://www.iu.edu/%7ecode/index.shtml> . It is assumed
  that academic personnel will accept without reservation those rules of conduct which are
  generally applicable within the University community and which are expressed at the moment
  within the student code.




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  The second section is also divided into three subsections. The ﬁrst subsection deals with
  initiation of complaints, the second with appropriate administrative actions, and the third with
  reviews of administrative action.

 A. RIGHTS AND RESPONSIBILITIES
       I. General Statements

           Scholarship. A scholar recognizes a primary responsibility to seek and to state the truth
           without bias. Striving to improve scholarly competence, continuing always to keep
           abreast of knowledge of his or her discipline, the scholar exercises critical self-discipline
           and judgment in using, extending, and transmitting knowledge, and practices intellectual
           honesty. Although subsidiary interests may be followed, these must never seriously
           hamper or compromise freedom of inquiry.

           Teaching. A teacher encourages the pursuit of learning in students, holding before them
           the best scholarly standards of the discipline. Respecting students as individuals, the
           teacher seeks to establish a relationship of mutual trust and adheres to the proper role
           as intellectual guide and counselor. The teacher makes every eﬀort to foster honest
           academic conduct and to assure that the evaluation of students’ scholastic performance
           reﬂects their true achievement, with reference to criteria appropriate to the ﬁeld of
           study. Any exploitation of students for private advantage is rejected and their signiﬁcant
           assistance is acknowledged. The teacher protects their academic freedom and serves as
           an example of this principle by assuring that each student and colleague is free to voice
           opinions openly and to exchange ideas free from interference.

           Librarianship. A librarian in the academic community is responsible for the collection,
           dissemination and preservation of information and source materials and for services in
           support of the teaching, research and general learning functions of the University. A
           librarian instructs and assists in ﬁnding and evaluating information, wherever it may be
           located. A librarian is entrusted with the responsibility of ensuring the availability of
           information and ideas, no matter how controversial, so that teachers may freely teach
           and students may freely learn. A librarian is a member of a profession explicitly
           committed to intellectual freedom and the freedom of access to information for present
           and future generations, following the Code of Ethics of the American Library Association
           and its Library Bill of Rights.

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           Relations with Colleagues. As colleagues, academic personnel have obligations that
           derive from common membership in the community of scholars. Such persons respect
           and defend the free inquiry of their associates. In the exchange of criticism and ideas,
           they show due respect for the opinions of others. They acknowledge their academic
           debts and strive to be objective in their professional judgment of colleagues. They
           accept their share of responsibility for the governance of the University.

           Relations with Students. With regard to relations with students, the term “faculty” or
           “faculty member” means all those who teach and/or do research at the University
           including (but not limited to) tenured and tenure-track faculty, librarians, holders of
           research, lecturer, or clinical appointments, graduate students with teaching
           responsibilities, visiting and part-time faculty, and other instructional personnel
           including coaches, advisors, and counselors.

           The University’s educational mission is promoted by professionalism in faculty/student
           relationships. Professionalism is fostered by an atmosphere of mutual trust and respect.
           Actions of faculty members and students that harm this atmosphere undermine
           professionalism and hinder fulﬁllment of the University’s educational mission. Trust and
           respect are diminished when those in positions of authority abuse or appear to abuse
           their power. Those who abuse their power in such a context violate their duty to the
           University community.

           Faculty members exercise power over students, whether in giving them praise or
           criticism, evaluating them, making recommendations for their further studies or their
           future employment, or conferring any other beneﬁts on them. All amorous or sexual
           relationships between faculty members and students are unacceptable when the faculty
           member has any professional responsibility for the student. Such situations greatly
           increase the chances that the faculty member will abuse his or her power and sexually
           exploit the student. Voluntary consent by the student in such a relationship is suspect,
           given the fundamental asymmetric nature of the relationship. Moreover, other students
           and faculty may be aﬀected by such unprofessional behavior because it places the
           faculty member in a position to favor or advance one student’s interest at the expense of
           others and implicitly makes obtaining beneﬁts contingent on amorous or sexual favors.
           (See quid pro quo sexual harassment in the Sexual Misconduct Policy, UA-03, deﬁnition


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           of sexual harassment). Therefore, the University will view it as a violation of this Code of
           Academic Ethics if faculty members engage in amorous or sexual relations with students
           for whom they have professional responsibility, as deﬁned in number 1 or 2 below, even
           when both parties have consented or appear to have consented to the relationship. Such
           professional responsibility encompasses both instructional and non-instructional
           contexts.

           1. Relationships in the Instructional Context. A faculty member shall not have an
                amorous or sexual relationship, consensual or otherwise, with a student who is
                enrolled in a course being taught by the faculty member or whose performance is
                being supervised or evaluated by the faculty member.

           2. Relationships outside the Instructional Context. A faculty member should be careful
                to distance himself or herself from any decisions that may reward or penalize a
                student with whom he or she has or has had an amorous or sexual relationship, even
                outside the instructional context, especially when the faculty member and student are
                in the same academic unit or in units that are allied academically.

           Relation to the University. Indiana University is committed to the concept of academic
           freedom and recognizes that such freedom, accompanied by responsibility, attaches to
           all aspects of a teacher’s or librarian’s professional conduct. Within this context, each
           person observes the regulations of the University, and maintains the right to criticize and
           to seek revision and reform. A teacher or librarian determines the amount and character
           of work done outside the University with due regard to paramount responsibilities within
           it. When considering interruption or termination of service, the teacher or librarian
           recognizes the eﬀect of the decision upon the program of the University and gives due
           notice. Above all, he or she strives to be an eﬀective teacher, scholar, librarian, or
           administrator.

           Relation to the Community. As members of the community, academic appointees
           have the rights and obligations of any citizen. They should measure the urgency of these
           obligations in the light of their responsibilities to their subject, to their students, to their
           profession, and to the University. When they speak or write as citizens, they are free
           from institutional censorship or discipline. At the same time, their positions as members
           of a university and of a learned profession impose special responsibilities. When they
           speak or act as private persons, they will make it clear that they are not speaking or

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           acting for the University. They will also remember that the public may judge their
           profession and the University by their utterances and conduct, and they will take pains
           to be accurate and to exercise restraint.

      II. Speciﬁc Responsibilities
           In addition to the preceding general statements of ethical performance within the
           academic profession, there are speciﬁc responsibilities that devolve upon the academic
           appointee who accepts a position at Indiana University. Observance of such speciﬁc
           responsibilities as the following is also a component of academic ethics.

           1. A teacher will maintain a clear connection between the advance description and the
                conduct and content of each course presented to ensure eﬃcient subject selection by
                students.

           2. A teacher will clearly state the course goals and will inform students of testing and
                grading systems; moreover, these systems should be intellectually justiﬁable and
                consistent with the rules and regulations of the academic division.

           3. A teacher will plan and regulate class time with an awareness of its value for every
                student and will meet classes regularly.

           4. A teacher will remain available to students and will announce and keep liberal oﬃce
                hours at hours convenient to students.

           5. A teacher will strive to develop among students respect for others and their opinions
                by demonstrating his or her own respect for each student as an individual, regardless
                of race, sex, national origin, religion, age, or physical handicap.

           6. A teacher will strive to generate a proper respect for an understanding of academic
                freedom by students. At the same time, a teacher will emphasize high standards and
                strive to protect students from irrelevant and trivial interruptions or diversions.

           7. Since letters of evaluation written by a teacher may be uniquely important documents
                in both the academic and post-university life of a student, each teacher will strive to
                make such letters both candid and fair.

           8. A librarian will continually develop, maintain, and make improvements to standard
                and specialized information resources and library services in support of the teaching,
                research and general learning functions of the University.

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           9. A librarian will cooperate with the teaching and research faculty to develop library
                collections in support of the curricular oﬀerings of the academic community.

      10. A librarian will strive to generate a proper respect for academic intellectual freedom in
  Please note:  This is anofarchived
          the discharge               versionprofessional
                             the librarian's  of the policy. View the current
                                                          obligations          version.
                                                                       to the patron,   <index.html>
                                                                                      the University,
                and the community at large.

          11. A librarian will strive to care for and preserve library information resources.

         12. A librarian accepts the responsibility for the care and preservation of library
                materials.

         13. Academic personnel will strive to protect not only their own right to freedom of
                inquiry, teaching, and expression but also their colleagues’ right to the same
                freedoms.

         14. In the interest of avoiding actual or perceived conﬂict of interest, academic personnel
                should not directly supervise employees with whom they are having sexual or
                amorous relationships. Academic supervisors shall disqualify themselves from
                employment-related decisions concerning such employees and, in consultation with
                the employee involved and other appropriate persons, the Vice Provost for Faculty
                and Academic Aﬀairs/Vice Chancellor for Academic Aﬀairs or other equivalent
                campus administrator shall take steps for the appointment of a surrogate supervisor.

         15. While in the classroom, academic personnel should refrain from adverse personal
                comments about their colleagues. At all times, academic personnel should exercise
                restraint and discretion in comments about other courses or divisions in the
                University.

         16. Constructive criticism of colleagues is sometimes necessary in the interest of the
                individual criticized or the entire University community. To be constructive, however,
                such criticism should be channeled, in conﬁdence, toward those persons (preferably
                the individual concerned, but also academic superiors, faculty committees, or
                administrative oﬃcers) who have the power to correct or inﬂuence conduct in a
                constructive way. Indiscriminate criticism or gossip about colleagues is condemned.

         17. Each academic person retains the right to criticize and to seek to remedy, by
                appropriate means, regulations and policies of the University. Among means deemed
                inappropriate are: acts of physical violence against members or guests of the


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                University community; acts which interfere with academic freedom, freedom of
                speech, or freedom of movement; and acts of destruction of University property. It is
                equally inappropriate to advise others to commit such acts.

         18. If criticizing the University, the academic person should be aware of ameliorative
                procedures that exist within the University and should use these procedures in
                preference to conducting public criticisms of the institutions or any of its divisions.

         19. Each academic person will insure that outside commitments do not interfere in terms
                of time, energy, or conﬂict of interest with obligations to the University. As a
                safeguard against such interference, each will:
               a. report to an appropriate authority plans to engage in gainful activities of an
                    extensive, recurring, or continuing nature; and

               b. notify an appropriate authority of any invitation to serve as advisor or consultant to
                    an agency granting money to the University.

        20. He or she will give adequate notice of interruption or termination of service. In order
                that instructional programs will not be interrupted, before leaving, the academic
                person will:
               a. complete all normal duties;

               b. provide complete records of grades and similar data to departmental chairpersons;
                    and

                c. provide properly for incomplete class and thesis work.

         21. He or she will work with colleagues individually and collectively toward furthering both
                personal and group interests so long as such cooperation does not require violation of
                intellectual and moral integrity.

         22. Each academic person will accept a share of the obligation for helping the University
                function smoothly as a living and vigorous organization. Toward achieving this goal,
                each will serve on committees, accept a reasonable burden of administrative duties,
                and work cooperatively with administrative oﬃcers of the University in order to
                further all the legitimate goals of the institution.

     III. Responsibilities as University Citizens




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           In retaining the rights to speak and act as citizens of the communities in which they
           dwell, academic personnel must assume as well the responsibilities which are incumbent
           upon the citizenship. Academic personnel, therefore, accept and adopt the provisions of
           the Indiana University Code of Student Rights, Responsibilities, and Conduct pertaining
           to personal misconduct on University property (Part II, Section H), which is printed
           below.

           Personal Misconduct on University Property

           The university may discipline a student for the following acts of personal misconduct
           which occur on university property, including, but not limited to, academic and
           administration buildings, residence halls, athletic and recreational facilities, and other
           university serviced property, such as sororities and fraternities:

           1. Dishonest conduct including, but not limited to, false accusation of misconduct,
                forgery, alteration or misuse of any university document, record or identiﬁcation; and
                giving to a university oﬃcial information known to be false.

           2. Assuming another person’s identity or role through deception or without proper
                authorization. Communicating or acting under the guise, name, identiﬁcation, e-mail
                address, signature, or other indications of another person or group without proper
                authorization or authority.

           3. Knowingly initiating, transmitting, ﬁling, or circulating a false report or warning
                concerning an impending bombing, ﬁre, or other emergency or catastrophe; or
                transmitting such a report to an oﬃcial or an oﬃcial agency.

           4. Unauthorized release or use of any university access codes for computer systems,
                duplicating systems and other university equipment.

           5. Conduct that is lewd, indecent, or obscene.

           6. Disorderly conduct, including obstructive and disruptive behavior that interferes with
                teaching, research, administration or other university or university-authorized
                activity. (See Guidelines for Dealing with Disruptive Students in Academic Settings,
                University Faculty Council, April 12, 2005)

           7. Actions that endanger one’s self, others in the university community, or the academic


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                process.

           8. Failure to comply with the directions of authorized university oﬃcials in the
                performance of their duties, including failure to identify oneself when requested to do
                so; failure to comply with the terms of a disciplinary sanction; or refusal to vacate a
                university facility when directed to do so.

           9. Unauthorized entry, use, or occupancy of university facilities.

         10. Unauthorized taking, possession or use of university property or services or the
                property or services of others.

          11. Damage to or destruction of university property or the property belonging to others.

         12. Unauthorized setting of ﬁres on university property; unauthorized use of or
                interference with ﬁre equipment and emergency personnel.

         13. Unauthorized possession, use, manufacture, distribution, or sale of illegal ﬁreworks,
                incendiary devices, or other dangerous explosives.

         14. Possession of any weapon or potential weapon on any university property contrary to
                law or university policy; possession or display of any ﬁrearm on university property,
                except in the course of an authorized activity.

         15. Sale of any ﬁrearms from university property or using university facilities, including
                through computer and telephone accounts; intentional possession of a dangerous
                article or substance as a potential weapon.

         16. Acting with violence.

         17. Aiding, encouraging, or participating in a riot.

         18. Harassment, deﬁned in Part I (c) of the Code as follows: “Sexual harassment is
                deﬁned as unwelcome sexual advances, including requests for sexual favors and
                other unwelcome conduct of a sexual nature, when submission to such conduct is
                made, either explicitly or implicitly, a University Policies ACA-33 6 term or condition of
                a student’s education, or submission to or rejection of such conduct by a student is
                used as the basis for academic conditions aﬀecting the student; or the conduct has
                the eﬀect of unreasonably interfering with an individual’s academic performance or
                creating an intimidating, hostile, or oﬀensive learning environment. Discriminatory
                harassment is deﬁned as conduct that targets an individual based upon age, color,


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                religion, disability, race, ethnicity, national origin, sex or gender, sexual orientation,
                marital status, or veteran’s status and that: adversely aﬀects a term or condition of an
                individual’s education, housing, or participation in a university activity; or has the
                purpose or eﬀect of unreasonably creating an intimidating, hostile, or oﬀensive
                environment for academic pursuits, housing, or participation in university activities.”

         19. Stalking or hazing of any kind whether the behavior is carried out verbally, physically,
                electronically or in written form.
               a. Stalking is deﬁned as repeated, unwanted contact in the forms of including, but not
                    limited to, phone calls, e-mail, physical presence, and regular mail.

               b. Hazing is deﬁned as any conduct that subjects another person, whether physically,
                    mentally, emotionally, or psychologically, to anything that may endanger, abuse,
                    degrade, or intimidate the person as a condition of association with a group or
                    organization, regardless of the person’s consent or lack of consent.

        20. Physical abuse of any person, including the following:
               a. The use of physical force or violence to restrict the freedom of action or movement
                    of another person or to endanger the health or safety of another person;

               b. Physical behavior that involves an express or implied threat to interfere with an
                    individual’s personal safety, academic eﬀorts, employment, or participation in
                    university-sponsored extracurricular activities or causes the person to have a
                    reasonable apprehension that such harm is about to occur; or

                c. Physical behavior that has the purpose or reasonably foreseeable eﬀect of
                    interfering with an individual’s personal safety, academic eﬀorts, employment, or
                    participation in university-sponsored extracurricular activities or causes the person
                    to have a reasonable apprehension that such harm is about to occur.

               d. Sexual assault, including while any party involved is in an impaired state;

               e. Sexual contact with another person without consent, including while any party
                    involved is in an impaired state.

         21. Verbal abuse of another person, including the following:
               a. An express or implied threat to
                     i. Interfere with an individual’s personal safety, academic eﬀorts, employment, or
                         participation in university-sponsored activities and under the circumstances


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                         causes the person to have a reasonable apprehension that such harm is about to
                         occur; or

                    ii. Injure that person, or damage his or her property; or

               b. b. “Fighting words” that are spoken face-to-face as a personal insult to the listener
                    or listeners in personally abusive language inherently likely to provoke a violent
                    reaction by the listener or listeners to the speaker

         22. Unauthorized possession, use, or supplying alcoholic beverages to others contrary to
                law or university policy.
               a. Indiana University prohibits:
                     i. Public intoxication, use or possession of alcoholic beverages on university
                         property (including any undergraduate residence supervised by the university,
                         including fraternity and sorority houses) except as otherwise noted in Part II,
                         Section H (22) b, and Part II, Section H(22) c.

                    ii. Providing alcohol contrary to law.

               b. The Dean of Students of each campus has discretion to allow exceptions to Part II,
                    Section H (22) a, allowing use or possession of alcohol by persons, including
                    students, who meet the minimum drinking age standards of the State of Indiana,
                    under the following circumstances:
                     i. Use or possession of alcoholic beverages by persons who are of lawful drinking
                         age may be generally permitted in residences supervised by the university,
                         including fraternity and sorority houses, whenspeciﬁcally approved by the
                         campus Dean of Students. Such use or possession may be allowed in residence
                         rooms, apartments, and certain common areas as speciﬁcally approved by the
                         Dean of Students. However, use or possession under this section shall be
                         permitted only in residences supervised by a live-in employee speciﬁcally
                         charged with policy enforcement.

                    ii. Use or possession of alcoholic beverages may be permitted on an event-by-
                         event basis in designated undergraduate residences (including fraternity and
                         sorority houses) supervised by a live-in employee speciﬁcally charged with
                         policy enforcement, when temporary permission is granted by the Dean of
                         Students for events at which persons of lawful drinking age may lawfully
                         possess and use alcoholic beverages.

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                c. The chancellor/provost of each campus has discretion to allow exceptions to Part
                    II, Section H (22) a, allowing use or possession of alcohol by persons, including
                    students, who meet the minimum drinking age standards of the State of Indiana,
                    under the following circumstances:
                     i. Use or possession of alcoholic beverages may be permitted in facilities such as
                         student unions or on-campus hotels, including guest rooms and other areas,
                         speciﬁcally approved by the campus chancellor/provost.

                    ii. Use or possession of alcoholic beverages may be permitted in other areas, such
                         as private oﬃces and faculty lounges, not accessible to the public.

                   iii. Use or possession of alcoholic beverages may be permitted in areas accessible
                         to the public, if speciﬁcally approved by the campus chancellor/provost.

               d. Indiana University also permits the non-conspicuous possession of alcoholic
                    beverages on university property when in transit to areas where they may be
                    possessed or used under the provisions above.

               e. Student organizations that serve or permit possession of alcoholic beverages at
                    student organization functions, on or oﬀ campus, may be disciplined if violations of
                    alcoholic beverage laws or of university regulations occur. Individual students who
                    plan, sponsor, or direct such functions also may be subject to discipline.

                f. The chancellor/provost or dean of students may make rules covering these uses.
                    Those rules shall be enforceable as provisions of this Code.

         23. Unauthorized possession, manufacture, sale, distribution or use of illegal drugs, any
                controlled substance, or drug paraphernalia. Being under the inﬂuence of illegal drugs
                or unauthorized controlled substances.

         24. Intentionally obstructing or blocking access to university facilities, property, or
                programs.

         25. Violation of other disseminated university regulations, policies, or rules. Examples of
                such regulations include but are not limited to university computing policies,
                residence hall policies, and recreational sports facility policies.

        26. A violation of any Indiana or federal criminal law.

         27. Engaging in or encouraging any behavior or activity that threatens or intimidates any
                potential participant in a judicial process.

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 B. ENFORCEMENT PROCEDURES
       Initiation of Complaints Any concerned person may initiate complaints about alleged
       violations of the Code of Academic Ethics. Such complaints should be brought to the
       attention of an appropriate chairperson or dean, or to the appropriate Vice Provost for
       Faculty and Academic Aﬀairs/Vice Chancellor for Academic Aﬀairs or his or her deputy; the
       Vice Provost for Faculty and Academic Aﬀairs/Vice Chancellor for Academic Aﬀairs shall
       provide for conﬁdential representations regarding such violations. Charges of
       discriminatory practice may be referred also to the appropriate Aﬃrmative Action Oﬃcer
       I. Administrative Action on Violations of Academic Ethics The line of administrative action
           in cases of alleged violation of academic ethics shall be the chairperson; the academic
           dean; the appropriate Vice Provost for Faculty and Academic Aﬀairs/Vice Chancellor for
           Academic Aﬀairs; the appropriate Chancellor/Provost; a Vice President, where
           appropriate; and the President. Subject to the substantive standards of University
           tenure policy and the procedural safeguards of the faculty institutions, sanctions
           appropriate University Policies ACA-33 8 to the oﬀense should be applied by the
           academic administrators. Possible sanctions include the following: reprimand,
           consideration in establishing annual salary, consideration in promotion decisions,
           consideration in tenure decisions, retention of salary, termination of employment, and
           immediate dismissal.

      II. Review of Administrative Action Academic appointees aﬀected by administrative action
           taken against them on grounds of violation of the Code of Ethics, whether or not the
           action resulted from proceedings provided in this Code, shall have such rights as are
           provided by the rules governing appeals to the Faculty Board of Review (or to the
           Associate Instructor Board of Review) of the appropriate campus. Appointees also have
           the rights of hearing and appeal provided by any other procedure of the University for
           the review of administrative action.

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  History
  (University Faculty Council, November 3, 1970; Board of Trustees, December 19, 1970;
  University Faculty Council, November 30, 1976; February 11, 1986; February 11, 1992; October
  3, 1996; April 27, 2004; April 12, 2005; April 28, 2009; Board of Trustees, December 13, 1996;


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  June 24, 2005; June 12, 2009)

  [Note: Some of these dates refer to changes in the Code of Student Rights, Responsibilities,
  and Conduct <http://www.iu.edu/%7ecode/index.shtml> .]




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  Related Information
  Code of Student Rights, Responsibilities, and Conduct
  <http://www.iu.edu/~code/index.shtml>




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                                         document
                                            Circuit Court1-1 filed 05/18/22 page 51 of 87 Lake County, Indiana


                                                                                                         Menu
         University Policies                                                                        CONTACT


Permanent Separations for Academic Appointees
ACA-52




                                                                                             Exhibit D
Scope
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Policy Statement

Reason for Policy

Definitions

History

Related Information



About This Policy

Effective Date:
07-27-1969

Date of Last Review/Update:
12-07-2020

Responsible University Office:
University Faculty Council

Responsible University Administrator:
Board of Trustees, Indiana University




Policy Contact:
Campus Chief Academic Affairs Official

Policy Feedback:
If you have comments or questions about this policy, let us know with the policy feedback form
</contact/index.html> .



Print or view a PDF of this policy
Many policies are quite lengthy. Please check the page count before deciding whether to print.




Scope
All academic appointees.
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Policy Statement
A. Resignation
  An academic appointee shall give reasonable advance notice of resignation to the chief
  administrator of the academic unit so that the instructional programs of the unit are not adversely
  affected. When a resignation will become effective at the end of an academic year, notice should be
  given prior to May 15.

B. Retirement
   1. Indiana University has no mandatory retirement age for academic appointees.

  2. An appointee who intends to retire shall give reasonable advance notice to the chief
     administrator of the academic unit so that the instructional programs of the unit are not
     adversely affected. In most cases, notice should be given a year in advance so the unit has time
     to recruit qualified candidates to fill the appointee’s position.

  3. Each campus should arrange an occasion in the spring of each academic year to honor academic
     appointees who are retiring, along with those already retired.

  4. The faculty governance organization of departments, schools, and campuses may extend local
     privileges to retired appointees in addition to those given to retirees generally by the university.

  5. Academic appointees who have retired under the 18-20 plan are not eligible for re-hiring by the
     university while receiving payments under the plan. All other retired academic appointees may
     be re-hired at the discretion of the university on an adjunct or visiting basis.

C. Non-Reappointment
   1. The non-reappointment of tenure-track faculty during the probationary period is covered under
     ACA-22, Reappointment and Non-Reappointment During Probationary Period </policies/aca-
     22-reappointment-non-reappointment-probationary-period/index.html> .

  2. For non-tenure-track faculty on year-to-year, full-time appointments, notice of non-
     reappointment shall be given in writing in accordance with the following standards:
     a. Not later than February 1 of the first academic year of service, if the appointment expires at
       the end of that year; or, if a one-year appointment terminates during an academic year, at
       least three months in advance of its termination.

     b. Not later than November 15 of the second academic year of service, if the appointment
       expires at the end of that year; or, if an initial two-year appointment terminates during an
       academic year, at least six months in advance of its termination.

     c. At least twelve months before the expiration of an appointment after two or more years of
       service.
  3. For non-tenure-track faculty with multi-year appointments, notice of non-reappointment shall be
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     given in writing at least twelve months before the expiration of the term of the appointment. The
     notice does not reduce the time remaining in the appointee’s current term, and separation does
     not occur until the end of that term.

D. Involuntary Dismissal of Tenured Academic Appointees
   1. Involuntary dismissal of tenured academic appointees refers to the termination of employment
     prior to retirement or resignation. Dismissal is thus to be distinguished from the non-
     reappointment during the probationary period.

  2. On July 27, 1969, the Board of Trustees enacted the following policy: Dismissal shall occur only
     for reason of (a) incompetence, (b) serious personal or professional misconduct or (c)
     extraordinary university financial exigency </policies/aca-41-financial-exigency/index.html> .
     No academic appointee shall be dismissed unless reasonable efforts have been made in private
     conferences between the appointee and the appropriate administrative officers to resolve
     questions of fitness or of the specified financial exigency. If no resolution is attained, the
     appointee to be dismissed shall be notified of dismissal in writing by the Provost/Chancellor or
     the President one year before the date the dismissal is to become effective, except that an
     appointee found responsible for serious personal misconduct may be dismissed upon shorter
     notice, but not on less than ten days' notice. Upon receipt of the dismissal notification, an
     academic appointee must be accorded the opportunity for a hearing. A statement with
     reasonable particularity of the ground proposed for the dismissal shall be available in
     accordance with the provisions in the Faculty Constitution. An appointee may be suspended
     during the pendency of dismissal proceedings only if immediate harm to the appointee or others
     is threatened by continuance. Any such suspension may be suspended with pay.

  3. The hearing required by paragraph 2 shall be held by a campus Faculty Board of Review.

  4. In any case in which the position of an academic appointee with tenure has been eliminated due
     to a university financial exigency, the university will make every reasonable effort to place the
     appointee in a comparable position elsewhere in the university or at another institution.

E. Involuntary Dismissal of Non-Tenured Academic Appointees
   1. Involuntary dismissal refers to termination of employment of a non-tenured appointee prior to
     the expiration of the term of appointment.

  2. Involuntary dismissal shall occur only for reason of (a) incompetence, (b) serious personal or
     professional misconduct, or (c) extraordinary university financial exigency </policies/aca-41-
     financial-exigency/index.html> , or on other grounds specified in policies regulating specific non-
     tenure-track appointment categories.

  3. No appointee shall be dismissed for incompetence unless all reasonable efforts have been made
     in private conferences between the appointee and the appropriate administrative officers to
     resolve the question of fitness.
   4. No non-tenured academic appointee shall be dismissed due to a university financial exigency
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      unless all reasonable efforts have been made by appropriate administrative officers to resolve
     the financial issue or appoint the individual to a comparable position elsewhere in the university.

   5. A non-tenured academic appointee notified of involuntary dismissal must be accorded the
     opportunity for a hearing before a campus Faculty Board of Review.

   6. A non-tenured academic appointee may be suspended during the pendency of dismissal
     proceedings by the Provost/Chancellor only if immediate harm to the appointee or others is
     threatened by continuance. Any such suspension shall be with pay.

F. In order to dismiss an academic appointee in less than one year because the appointee is found
  responsible for serious personal misconduct, the conduct must pose an ongoing threat to the
  safety and security of the university community, constitute repeated acts of the same form of
  misconduct, or have resulted in a felony conviction.

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Reason for Policy
The end of an academic career is as important as the beginning. The mutual rights and responsibilities
of academic appointees and university administrators must be articulated to make the process
transparent. In 1969, the Trustees enacted a policy governing the dismissal of a tenured faculty
member, which serves as the model for this policy.

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Definitions
Personal or professional misconduct: Conduct that has been determined to violate a misconduct
policy of the university or a campus which has been enacted or approved by a faculty governance
organization, including UA-03, Discrimination, Harassment and Sexual Misconduct </policies/ua-03-
discrimination-harassment-and-sexual-misconduct/archived-08142020.html> ; ACA-30, Research
Misconduct </policies/aca-30-research-misconduct/index.html> , ACA-33, Code of Academic Ethics
</policies/aca-33-code-academic-ethics/index.html> , and campus policies on personal misconduct.

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History
(University Faculty Council, May 15, 1956; December 3, 1968; Board of Trustees, July 27, 1969;
University Faculty Council, April 28, 2020; University Faculty Council, December 7, 2020)

By way of its adoption of UA-21, Sanctions for Noncompliance with COVID-19 Health and Safety
Directives </policies/ua-21-sanctions-non-compliance-covid19/index.html> , the Board of Trustees
made failure or deliberate refusal to comply with the health and safety guidance and directions
adopted by the university to combat the spread of COVID-19 an act of “serious personal and
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professional misconduct” within the meaning of this policy. Board of Trustees, August 14, 2020.

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Related Information

ACA-41, Faculty Role Regarding A University Financial Exigency

</policies/aca-41-financial-exigency/index.html>
ACA-18,Regulation of Clinical and Lecturer Appointments

</policies/aca-18-regulation-clinical-lecture-appointments/index.html>
ACA-19,Regulation of Professor of Practice Appointments

</policies/aca-19-regulation-professors-practice-appointments/index.html>
ACA-20, Regulation of Research Appointments

</policies/aca-20-regulation-research-appointments/index.html>
ACA-22,Reappointment and Non-Reappointment During Probationary Period

</policies/aca-22-reappointment-non-reappointment-probationary-period/index.html>
ACA-30,Research Misconduct

</policies/aca-30-research-misconduct/index.html>
ACA-33, Code of Academic Ethics

</policies/aca-33-code-academic-ethics/index.html>
UA-03, Sexual Misconduct

</policies/ua-03-discrimination-harassment-and-sexual-misconduct/archived-08142020.html>
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                          IUN's Dismissal Procedures For Tenured Faculty & Librarians


In accord with University policy, dismissal of tenured faculty or librarians shall occur only for reasons of incompetence, serious personal or
professional misconduct, or extraordinary financial exigencies of the University.

Faculty who are not yet tenured but earning credit toward tenure are subject to review and reappointment during their
probationary periods. A separate policy applies to these faculty: "Policies Governing Reappointment and Non-reappointment
During Probationary Periods."

The purpose of tenure is to protect and preserve academic freedom and to provide economic security. In no case shall the
exercise of academic freedom be construed as professional incompetence or misconduct. University policies shall be
observed, particularly concerning equal opportunity, academic freedom, academic ethics, and discrimination. No dismissal of
a faculty member or a librarian shall be based on:

1. One's age, sex, color, race, national origin, religious preference, status as a veteran, political preference or allegiance, or
sexual preference;
2. One's physical or emotional condition, whether legally a handicap or disability or not, except and only insofar as this
condition demonstrably and seriously limits one's professional competence and was either unknown or nonexistent at the time
of one's original employment (nothing in this statement precludes the faculty member's or librarian's right to disability coverage
or the University's responsibility to place disabled employees on leave in accord with established policies);
3. One's performance in an area which one has been assigned without sufficient opportunity to prepare;
4. One's understanding of, or approach to, or method of pursuing an area of expertise as invidiously compared to what is
considered merely preferable by others in the same or other similar discipline;
5. One's salary as an employee of the University;
6. Sources of income or other support available to one from sources other than the University unless there is a clear link to the allegation;
7. The retirement benefits for which one is eligible;
8. Unsubstantiated complaints either from within or from outside the University, even if job-related.

To the extent possible, all dismissal proceedings shall be kept confidential.

If a faculty member or librarian requests a review of an administrative action through the Faculty Board of Review.Once
exonerated, a faculty member or librarian shall not be required to answer repeated charges based on substantially the same
                                                                                                                                         Exhibit E
facts.                         USDC IN/ND case 2:22-cv-00137 document 1-1 filed 05/18/22 page 59 of 87

I. ALLEGED PROFESSIONAL INCOMPETENCE

Professional competence involves the ability to perform adequately on a continuous basis during the years of appointment the
basic tasks of a university professor or librarian. The basic tasks of a faculty member are defined with regard to teaching,
research, and service, as understood in a faculty member's academic unit and particularly in his or her discipline. The basic
tasks of a librarian are defined with regard to performance, professional development, and service responsibilities as
understood within the particular library environment. One's status as a tenured faculty member or librarian at IUN establishes
a presumption of being professionally competent throughout one's career through continuing professional growth and
development. This presumption is further strengthened by the terms and conditions stated at the time of one's initial
appointment, by one's professional accomplishments documented in ways established by department, school, library and
campus policies, and by any changes in one' s professional responsibilities mutually agreed to during the course of employment as a member of the
faculty or as a librarian. It is recognized that both institutions and the individuals who comprise them have a mutual responsibility to evolve with
changes in the knowledge and practice bases of our respective disciplines.

Professional incompetence on the part of a faculty member or a librarian, respectively, is the demonstrated continuing inability
to perform adequately the ordinary duties of teaching, research, and service as expected of faculty within the academic unit or
the ordinary professional responsibilities expected of librarians within the unit. The burden of documenting the professional
incompetence of a tenured member of the faculty or of a tenured librarian rests with the dean of the academic unit in
consultation with the department chair, library director or other appropriate administrator. For this purpose, only information
or evidence that relates to the alleged professional incompetence may be considered.

Notice Period Procedure:

A faculty member or librarian must be given adequate primary official notice of alleged deficiencies serious enough to warrant
consideration of dismissal proceedings on the grounds of professional incompetence, and the individual must have an adequate opportunity (a notice
period of at least two years) to correct deficiencies which may have contributed to professional incompetence. During the notice period, the faculty
member or librarian shall have access to the provisions of Plan A of the
Policy on IUN Faculty and Librarian Review and Enhancement. Participation in a development plan shall not extend the notice period. In an
extraordinary situation, the notice period can be set for less than two years, if

   The faculty member has a history of annual reviews that document performance which does not meet the specific
   responsibilities described in the Indiana University Code of Academic Ethics,

and

   The Dean can justify the determination that attempts to remediate the performance deficits are unlikely to be
   successful,

and
   The Chancellor determines USDC    IN/NDnotice
                             that a shorter caseperiod
                                                 2:22-cv-00137      document
                                                       is required to protect the1-1  filedof05/18/22
                                                                                  interest            page
                                                                                              the members     60 of 87
                                                                                                          of the
   University Community.

Primary official notice must be given in written form to the individual by the dean of the academic unit in consultation with the
department chair/library director or other appropriate administrator (all hereafter referred to as "the administrator" throughout
this document), and the written notice must specifically mention all alleged deficiencies and also the possibility of dismissal.
The primary official notice should be given in confidence to the faculty member or librarian, but the person must be informed
of the means whereby he or she may request an immediate peer review by the appropriate promotion and tenure committee.
But, if a majority of the duly constituted promotion and tenure committee is appointed, then the departmental (or unit) faculty
or the librarians shall elect a special committee for this purpose as needed. Ordinarily, for faculty the committee to be
consulted under this procedure is at the departmental level, but in smaller schools without departments the appropriate
committee is the school committee. Librarians may request a review by the Indiana University Librarians Promotion and
Tenure Committee. The faculty member or librarian need not request peer review at this stage and may choose to work solely and privately with the
dean and the administrator.

When requested by the faculty member or librarian, the appropriate promotion and tenure committee shall review the
concerns addressed in the primary official notice and review the individual's performance to assess whether the issuance of the primary official notice
of deficiencies was warranted. The committee will prepare a confidential written report of their
proceedings and opinion, with a copy going to the dean of the unit, the administrator, and the faculty member or librarian. The
report should be submitted no more than 30 days following the submission of the request by the faculty member or librarian.
(In cases in which the notice period is less than 30 days, the administrator may proceed with the initiation of the formal
proceedings while the committee completes its work.) If the committee finds that the accusation of professional incompetence
is not warranted, the dean may withdraw the official primary notice, and if so must send a written notice of such action to the
faculty member or librarian and the administrator in a timely manner.

The intent of this notice period is to allow the faculty member or librarian an opportunity to correct any deficiencies
contributing to an inability to perform adequately and to seek solutions other than dismissal. Issuance of the primary official
notice may not by itself be used as a reason for changing the terms and conditions of his or her employment. However,
documented evidence of performance may be used to establish annual salary increases (in accord with university, campus,
unit, and departmental written salary polices) or to change work assignments.

If the primary official notice is not withdrawn, the faculty member or librarian may submit evidence of having corrected the
alleged deficiencies to the administrator at any time during the notice period. If the administrator believes that all deficiencies
have been corrected, he or she shall notify the dean. If the dean agrees that all deficiencies have been corrected, the dean will
send a written notice to the faculty member or librarian stating that such is the case and that the question of professional
incompetence is closed. If the administrator can demonstrate to the dean that the faculty member is not making progress
toward remediating deficiencies during the notice period, the administrator with express permission of the dean of the
academic unit may undertake formal proceedings for dismissal on grounds of professional incompetence.

Formal Proceeding Procedures:
                                 USDC
If at the end of the notice period, in theIN/ND case
                                           judgment of 2:22-cv-00137
                                                       the administrator document    1-1 filed 05/18/22
                                                                         the alleged deficiencies           page
                                                                                                  have not been   61 of 87the
                                                                                                                corrected,
administrator with the express permission of the dean of the academic unit may undertake formal proceedings for dismissal on
grounds of professional incompetence. The administrator must send written notice of his or her decision to the individual
faculty member or librarian in a timely manner.

The administrator will confer with an elected peer committee before issuing any final written recommendation for dismissal.
For this stage of the procedure, a special five member peer committee must be elected by the unit faculty and librarians from
among the unit's tenured members holding the rank of professor, associate professor, librarian, or associate librarian,
according to procedures established by the faculty of the unit.If the committee is not elected within 30 days after the
administrator calls for the formation of a committee, the unit's promotion and tenure committee will serve as the committee.

The peer committee shall notify the faculty member or librarian that proceedings have been initiated. A faculty member or
librarian may request a hearing before the peer committee before that committee makes a recommendation. The request must
be made within thirty days of receipt of notification from the administrator, and the faculty member or librarian shall be
afforded at least thirty additional days to prepare a presentation to the peer committee. A hearing, if any, should occur no later than 60 days following
the administrator's written notification to the faculty member initiating formal proceedings. The
committee deliberations must be concluded and the report filed within 90 days following the initial written notification to the
faculty member initiating formal proceedings.

The peer committee will meet privately to the extent permitted by law, examine all evidence, and arrive at a recommendation
regarding whether or not the faculty member or librarian is professionally incompetent. At all points in this process, the faculty
member or librarian is entitled to know the sources and nature of the evidence, to be present (except during initial
organizational meetings and final deliberations) and to confront those alleging incompetence, to have outside experts testify, to
be represented by counsel or anyone else of his or her choice, and to present evidence. Similarly, the administrator has a right
to be present at meetings (except during initial organizational meetings and final deliberations), to interview witnesses, to have
outside experts testify, to be represented by counsel if he or she chooses, and to present evidence.

The peer committee will make a written report regardless of its findings. The committee must file its report within 90 days of
the faculty member's initial notification by the administrator; the administrator may proceed with the dismissal process after 90
days regardless. If a majority of the peer committee finds that the faculty member or librarian is professionally incompetent, the written report shall
state this and the basis for its determination. If the charge of professional incompetence is unsubstantiated, the committee will state this conclusion
and the basis for its determination. The written report will be forwarded simultaneously to the faculty member or librarian, to the administrator, and to
the dean of the academic unit.

If the peer committee finds that the faculty member or librarian is not incompetent, the committee will recommend that the
proceedings terminate and that the administrator withdraw the allegation in writing. If the administrator proceeds with the
process despite the peer committee's findings, the peer committee must be notified and be afforded an opportunity to
comment to the dean. All commentary from the peer committee must be a part of the record considered by all subsequent reviewers, who must
explicitly address the peer committee's findings if they disagree with the written record. The administrator must keep in mind that the burden of proof
that adequate cause exists rests with the institution and will be satisfied only by substantial evidence in the record considered as a whole.
If the peer committee finds thatUSDC      IN/ND
                                   the faculty   case 2:22-cv-00137
                                               member                       documentincompetent,
                                                        or librarian is professionally 1-1 filed 05/18/22     page 62shall
                                                                                                    the administrator  of 87
                                                                                                                           send his or her written
recommendation for dismissal on grounds of professional incompetence to the dean of the academic unit. Within
thirty days of the receipt of the administrator's written recommendation, the dean may proceed with dismissal procedures by
forwarding the recommendation along with the peer committee report and his or her own comments to the Vice Chancellor
for Academic Affairs. The dean of the academic unit will provide a copy of his or her written recommendation to the faculty
member or librarian. The Vice Chancellor for Academic Affairs will add his or her own recommendation and will forward the
entire file, along with any additional comments or responses from the faculty member or librarian, to the Chancellor. The
faculty member or librarian must be provided with a copy of all administrative comments and recommendations before they
are forwarded to the Chancellor. The Chancellor may choose to proceed with the dismissal of the faculty member or librarian.
If so, the Chancellor shall issue via certified mail a written notice of dismissal, which will state with reasonable particularity the
grounds for dismissal for professional incompetence. The notice shall state the effective date of dismissal.

In lieu of the one year notice period as required by the dismissal policy stated in the IU Academic Handbook, the faculty
member or librarian may be offered an amount equal to his or her salary and fringe benefits for one year unless some other
mutually agreeable arrangement is negotiated. The faculty member or the librarian shall have the right to resign at any point in
the proceedings prior to notification of dismissal by the Chancellor.

Within ninety days of receipt of the notice of dismissal from the Chancellor, the faculty member or librarian may request a
hearing before an IUN Faculty Board of Review. In the alternative, a librarian may choose to be reviewed by the Indiana
University Librarians Review Board.

II. ALLEGED MISCONDUCT

Dismissal of a tenured faculty member or librarian on grounds of misconduct shall be sought only with respect to behavior
which constitutes such serious and willful personal or professional wrongdoing as to demonstrate the faculty member or
librarian's unfitness to hold his or her academic appointment. The following acts exemplify, but do not exhaust the sort of
activity which might constitute misconduct: acts which constitute a felony; acts which constitute a flagrant breach of University
rules or academic ethics and which involve moral wrongdoing; acts of academic dishonesty such as plagiarism and falsification
of reports or research; theft or misuse of University resources; persistent neglect of duties or persistent failure to carry out the
tasks reasonably to be expected of a person holding the position involved. Malicious or knowingly false accusations of
misconduct shall be considered serious misconduct on the part of the accuser(s). In the course of dismissal for misconduct
proceedings, only information or evidence that relates to the alleged misconduct may be considered.

Where the ability of the faculty member or librarian to perform effectively is clearly and seriously impaired by the nature of the
misconduct, or where the work of the department, school or library clearly would be disrupted or if immediate harm to him
self, herself, or others is threatened by continuance, the faculty member or librarian may at any time be suspended by the dean with pay until the
matter is decided.

Informal Discussion Period:
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Actions for dismissal on the grounds           case 2:22-cv-00137
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                                                                           an administrator     05/18/22
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                                                                                                   rank of dean      of 87but the
                                                                                                                   above,
dean of an academic unit may base this action on the recommendations of a department chair, library director or other
personnel who may be responsible for or knowledgeable about the conduct of the faculty member or librarian alleged to have
engaged in misconduct. Where misconduct is suspected, the faculty member or librarian will first, as early as possible, be
invited by the dean who is considering initiating action to discuss and respond to the allegations in person. The dean is
obligated to collect such information and evidence as to have a reasonable and plausible belief that dismissal may be
warranted by the facts; however, to the extent possible, the accusation of misconduct is to be kept confidential by the
administration and those consulted. Several meetings may be required, and the faculty member or librarian must have been
apprised of all allegations and evidence and been given a reasonable opportunity to respond to them prior to the end of the
final exploratory meeting of the dean with the faculty member or librarian.

In cases in which the dean of the academic unit and the faculty member or librarian disagree as to whether the alleged
misconduct has been properly characterized as "serious misconduct" warranting dismissal proceedings, the dean shall offer to
bring this conduct characterization issue before an impartial committee composed of at least three faculty members or
librarians who are jointly acceptable to the dean and faculty member or librarian against whom the allegations have been
made. If the dean and faculty member can not reach agreement on at least three members to form the impartial committee
after considering all eligible members of the academic unit, the following process will be used. If the Dean and the faculty
member or librarian agree on two members from the academic unit, the chair of the IUN Faculty Board of Review (or the
chair's designee) will serve as the third member of the committee. In all other circumstances, the committee will be composed
of one member of the academic unit selected by the Dean, one member of the academic unit selected by the faculty member
or librarian, and the chair of the IUN Faculty Board of Review (or the chair's designee).This group, referred to subsequently
in this document as "the Committee", shall elect its own chair. If this offer for early assistance is accepted by the faculty
member or librarian, the Committee, after meeting with the dean and the faculty member or librarian, is only to render an
opinion as to whether the nature of the alleged conduct may properly be characterized as "serious misconduct" as defined in
Section II. If the Committee deems perusal of dismissal proceedings to be inappropriate, it should so state. In that case, the
Committee may weigh the interests of the faculty member or librarian and of the unit and suggest, if possible, alternative ways
to accommodate those interests. In the spirit of informal resolution, all parties are expected to maintain collegiality, but nothing
in these procedures precludes a faculty member, librarian or administrative officer from being represented by counsel or
anyone else of choice. The entire procedure described in this paragraph should be completed within a reasonable period of
time, which ordinarily would be one week. The faculty member or librarian and the dean shall be apprised of the Committee's
determination before any formal proceeding may begin.

In an instance when the Institutional Review Board for the Use of Human Subjects has conducted a review of an allegation of
research misconduct and made a recommendation to the Chancellor for dismissal, the requirement for an informal discussion
period will be set aside. In this instance, the process of dismissal will then begin with formal written notice being sent to the
faculty member or librarian by certified mail by the dean as specified in the section titled, "Formal Proceeding Period," unless
the Chancellor decides to act directly. Ordinarily, the Chancellor will refer a recommendation for dismissal from the Ethics in
Research Committee to the dean for action, but the Chancellor may reserve the right to act directly on the recommendation of
the Ethics in Research Committee after notifying the faculty member or librarian and the dean and allowing 30 days for a
response from either party.
Formal Proceeding Period:      USDC IN/ND case 2:22-cv-00137 document 1-1 filed 05/18/22 page 64 of 87

If the preceding discussions do not resolve the matter, the dean, having a reasonable and plausible belief that dismissal is
warranted, shall, within ninety days after the final informal meeting with the faculty member or librarian, provide that individual
with written notice of intent to initiate formal proceedings to investigate possible misconduct; copies of the notice shall be given to the department
chair/library director or other appropriate administrator, to the Vice Chancellor for Academic Affairs, and
to the Chancellor. This notice shall detail the specific nature of the allegations and list the witnesses, statements, documents
and other evidence on which they are based.

The formal written notice shall be sent to the faculty member or librarian by certified mail. When a formal, detailed notice has
been issued, the faculty member or librarian will be allowed 30 days from date of receipt to present to the dean or other
administrator initiating the dismissal proceedings, written information in response to the allegations; will be allowed to be
represented by counsel or anyone else of his or her choice; and is entitled to full access to all relevant information regarding
the case possessed by the dean or other administrative officers, including the names and location of all witnesses. No
information to which the faculty member or librarian is denied access shall be used by the administration.

After consideration of the written response, or if no response is received at the completion of the 30 day period, the dean may proceed. If the dean
believes that the faculty member or librarian is guilty of serious misconduct and wishes to pursue the
dismissal of the individual, the dean must forward a written recommendation for dismissal with supporting documentation to
the Vice Chancellor for Academic Affairs, who will add his or her recommendation and comments and then forward the entire file to the Chancellor.
A copy of all materials forwarded, must be provided to the faculty member or librarian, who must be
given an opportunity to provide comment and evidence in defense to the Chancellor.

If the Chancellor supports the recommendation for dismissal for misconduct, the Chancellor shall issue via certified mail a
written notice to the faculty member or librarian stating the effective date of dismissal and stating with reasonable particularity
the grounds on which the action is being taken.

The faculty member or librarian shall have the right to resign at any point in the proceedings prior to notification of dismissal by the Chancellor. The
faculty member or librarian shall have 30 days from receipt of the notice of dismissal from the Chancellor
to request a hearing before a Faculty Board of Review regardless of the date of dismissal.

Nothing in this policy shall prevent designated University officers, including the Affirmative Action Officer or the Director of
Internal Auditing, from conducting investigations as specified by University policies. Nothing in this policy shall prevent the
University from referring matters of possible misconduct to city, state, or federal agencies that may have jurisdiction in the
investigation of possible misconduct.
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                                              Northwest




                             3400 Broadway - Gary, Indiana 46408
                                       219-980-6500
                                      888-YOUR IUN
                                         (1-888-968-7486)


                            Comments: Faculty Organization Secretary
                                 Last updated: 21 September 121
                   http://www.iun.edu/~facorg/meeting01/dismissprocedure.htm
                    Copyright 1997 - 2021, The Trustees of Indiana University
                            Copyright Complaints buPrivacy Statement
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                                                                                                        Menu
         University Policies                                                                        CONTACT


Faculty and Librarian Annual Reviews
ACA-21




                                                                                               Exhibit F
Scope
            USDC IN/ND case 2:22-cv-00137 document 1-1 filed 05/18/22 page 67 of 87
Policy Statement

Reason for Policy

Procedures

Definitions

History



About This Policy

Effective Date:
04-29-1976

Date of Last Review/Update:
11-12-2019

Responsible University Office:
University Faculty Council

Responsible University Administrator:
University Faculty Council
Board of Trustees, Indiana University



Policy Contact:
ufcoff@indiana.edu

Policy Feedback:
If you have comments or questions about this policy, let us know with the policy feedback form
</contact/index.html> .



Print or view a PDF of this policy
Many policies are quite lengthy. Please check the page count before deciding whether to print.




Scope
All academic appointees who hold tenure-track, lecturer, professor of practice, clinical or research
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appointments.

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Policy Statement
A. All academic appointees shall receive annual merit and salary reviews.

B. Academic appointees of less than full rank and probationary appointees shall also receive annual
  career progress reviews on their progress toward tenure and/or promotion. Career progress
  reviews may be conducted separately or at the same time as annual merit and salary reviews.

C. The Board of Trustees has resolved that the procedures used in annual reviews shall:
   1. Preserve academic freedom.

   2. Protect due process.

   3. Recognize situational differences of diverse faculty.

   4. Establish professional development as a goal.

   5. Define a mechanism for initiating the in-depth review process.

   6. Incorporate existing faculty review mechanisms.

   7. Include peer review.

D. To assist the annual review process, academic appointees shall submit annual reports.
   1. The Executive Vice President for University Academic Affairs may develop an annual report form
     to be used on all campuses and units, and may determine the scope, content, routing, and timing
     of reports, in consultation with the University Faculty Council.

   2. It is the responsibility of the Provost/Chancellor of each campus to develop the format, content,
     routing, and timing of annual reports for all academic appointees not covered by a university-
     wide report form, in consultation with the campus faculty governance body.

   3. Annual report forms shall provide for individuals to report professional activities and
     accomplishments during the preceding year in the areas of instructional activity, scholarship and
     creative work, and university and public service.

   4. Annual report forms shall also include the opportunity for individuals to volunteer additional
     information beyond the areas required by the form.

   5. The annual report form also may be used for purposes other than annual reviews, subject to
     oversight by the appropriate faculty governance body.

E. Annual merit and salary reviews shall be conducted by the principal administrator of an academic
  unit under procedures approved by the faculty governance body of that unit. Those procedures
  may include a requirement that salary adjustments be made in consultation with a faculty
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  committee elected by the faculty or appointed by the unit’s faculty governance body.

F. Annual career progress reviews may be conducted by the principal administrator of the unit, the
  administrator’s designee, or by a faculty promotion and tenure committee. At the time of the
  review, each appointee shall be informed of matters relevant to progress toward promotion and/or
  tenure. The principal administrator should provide the appointee with a written summary of the
  career progress review.

G. Academic appointees and administrators are expected to cooperate in the review process to
  ensure that the files on which such reviews are based contain all relevant material and the process
  is conducted efficiently without undue burden being placed on the appointee.

H. Each campus may adopt its own policy for reviewing and setting salaries consistent with these
  guidelines. Each academic unit may adopt its own salary policy consistent with these guidelines
  and campus policy.
   1. Salaries shall be based on merit, inflation, recruitment, retention, and remedial equity, if
     appropriate. Merit has primacy among these.

  2. The setting of salaries shall always balance two principles: rewarding comparable performance,
     distinction, and experience with comparable salary, and providing the support necessary to
     achieve the missions of the university.

  3. Salary resources may be used to remedy past inequities resulting from changing market
     conditions, inappropriate merit judgments, inadequate funding, discrimination, or other good
     cause.

  4. Annual salary increments may be made in percentages, fixed-dollar amounts, or a combination.
     However, salary decisions should avoid inappropriate widening of the disparities between low
     and high salaries that may result from the use of percentage increments.

   5. Salary policies at every level should be written and available for inspection and other appropriate
     uses. A unit shall report annually on salary policy implementation to the faculty in the unit.

I. An academic appointee who takes an administrative position may receive a salary supplement for
  administrative service, but that supplement leaves the salary base when the administrator resumes
  full-time faculty status. The salary base may be adjusted so that it approximates what the
  appointee’s salary would have been had the appointee not taken the administrative position. See
  ACA-08, Faculty Members Holding Administrative Positions </policies/aca-08-faculty-holding-
  admin-positions/archived-05152020.html> .

J. An academic appointee who would otherwise terminate and begin receiving 18/20 plan payments
  may, with the approval of the Provost/Chancellor, be offered retention incentive pay in the form of
  a $5,000 allocation for research and professional development at age 64, or 20% base salary
  supplement from age 65 to 70.
K. A campus or unit may adopt salary minima, which must periodically be adjusted to account for
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   inflation and overall unit salary raises.

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Reason for Policy
The quality and integrity of academic programs depend upon the performance of individual academic
appointees. Annual reviews are important to both faculty and administrators to assess performance
and progress and to provide for continued faculty development. Annual reviews also facilitate
communication, openness, fairness, and faculty participation in merit-based salary decisions, and
transparency concerning
progress toward promotion and tenure.

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Procedures

Procedures for implementing this policy shall be developed by each campus and each academic unit.

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Definitions
Principal Administrator: The dean, department chair, program director, or other administrative head
of an academic unit or that officer’s designee.

Academic Unit: A school, department, program, division or similar entity in which one or more
academic appointees hold their primary appointment.

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History
University Faculty Council, April 29, 1976; Oct. 9, 1979; April 21, 1989

University Faculty Council April 23, 1991; Board of Trustees, June 20, 1991

University Faculty Council February 9, 1999; Board of Trustees, March 26, 1999

University Faculty Council, November 12, 2019. As part of the 2019 revisions, ACA-21, ACA-25, ACA-
28, and ACA-44 were updated and consolidated. ACA-25, Annual Reports for Faculty and Librarians,
was rescinded; its content has been incorporated into ACA-21, § D. ACA-28, Faculty and Librarian
Salary, was rescinded; its content has been incorporated into ACA-21, § H. ACA-44, Retention
Incentive Pay for Academic Appointees, was rescinded; its content has been incorporated into ACA-
21, § H-7.
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                                                          Circuit Court1-1 filed 05/18/22 page 72 of 87                                  Lake County, Indiana



Indiana University Northwest

Post-Tenure Review and Enhancement Policy
(February, 1999)

The purpose of post-tenure review and enhancement is to focus on two small groups of faculty and librarians who a) seek a change in
career direction or emphasis, or b) are failing to meet minimum levels of performance. Faculty and librarian review and enhancement
provide a structure for the preparation and implementation of faculty and librarian development plans to meet the needs of these two
groups of individuals.

The proposed plan is a way of addressing the issue of chronically unproductive faculty and librarians. It is also a logical step in assisting
faculty and librarians who seek a change in career emphasis or a balance between teaching, research, or service in the case of faculty--
performance, professional development, and service--in the case of librarians. We must recognize, however, that attempts to deal with the
two groups in the absence of an adequately funded faculty and librarian development program that provides the direction-changer or
under-performer with the opportunity for new challenges through a structured faculty development plan, will fail. There must be a way to
link these individuals to the faculty and librarian development process.

Tenure requires mutual responsibilities. When faculty and librarians accept tenure, they also accept the obligation to grow and develop
professionally, to keep current in their disciplines, and to meet the evolving needs of the University. Prior to the tenure decision, the
burden is on the faculty member or the librarian to prove that tenure should be granted. However, once tenure has been earned, the
burden shifts to the institution to show why the faculty member or librarian should no longer have tenure.

The University has the reciprocal responsibility to provide faculty members and librarians with the environment and resources needed for
them to be as productive as possible, particularly providing strong protection for academic freedom. This includes not only meaningful
faculty and librarian development programs and opportunities, but also structural and administrative support so that faculty and librarian
efforts may be translated into achievement. In addition, administrators must be willing and able to make difficult decisions when
individual faculty or librarian performance remains below minimally satisfactory levels.

Guiding Principles

Faculty and librarian review and enhancement must be clearly aimed at performance enhancement rather than as a punishment for
performance inadequacies. This process should be congruent with the following guiding principles:

1. Preservation of academic freedom

The program should include an opportunity for faculty or librarians to pursue new directions throughout their careers without penalty,
and without undermining the principles of academic freedom and tenure.


                                                                                                                                  Exhibit G
                       USDC IN/ND case 2:22-cv-00137 document 1-1 filed 05/18/22 page 73 of 87
2. Protection of due process

Due process must be assured. If unfavorable reviews lead to consideration of termination, university policies must be followed and
faculty members must be guaranteed normal access to academic due process. A corollary of this policy is a fair and equitable early
retirement system providing faculty and librarians the opportunity to retire from their positions in a dignified manner.

3. Recognition of situational differences in a diverse faculty

The review and enhancement policy must recognize the diverse cultures of faculty and librarians. These may include potential
differences in those who are more recently hired from those who have been on the faculty or in a library for many years; those teaching-
oriented and research-oriented schools and programs, and the differences in mission of the various schools or libraries. Moreover, all
facets of faculty and librarian performance should be considered. Different units may weigh more heavily toward one area, depending on
mission.

4. Establishment of a professional development goal

Post-tenure review must not be a reevaluation of tenure, but should be aimed at faculty development. Sufficient resources must be made
available for faculty and librarian development, and must be formally coordinated with the review process so that programs specific to
the needs of faculty or librarians may be offered and coordinated with development programs already in place. There must be ongoing
analysis of current faculty and librarian development strategies and a determination of whether they are adequate to meet the needs of
faculty and librarians, particularly those who are subject to a development plan. If important limitations to professional development are
allowed to remain, then the issue of post-tenure becomes moot. In some cases, at least, such conditions may justify limitations in faculty
or librarian performance. Therefore, the university must provide such vital resources as travel funds for access to professional meetings,
as well as technical training of faculty, to an appropriate degree.

5. Articulation of a mechanism to initiate the review process

The review process should take into consideration all facets of faculty performance--including the distribution of effort among teaching,
research, and service--and all facets of librarian activities--including the distribution of effort among performance, professional
development, and service. The initiating mechanism should be designed to identify those faculty members or librarians who have been
notified of persistent substandard performance over at least two or more consecutive annual reviews within a five-year period.

Thus, it is imperative that departments and divisions clearly define the notions of "substandard performance" and "chronically
unproductive" individual. These definitions and mechanisms for measuring shall be determined with faculty input and full written notice
to faculty and librarians upon implementation of review and enhancement. However, the definition of unsatisfactory performance must
include the concept of lack of effort, rather than merely lack of results, which must take into account mitigating circumstances, such as a
competitive research environment.

The dean or library director notifies the faculty member or librarian being selected for review and will provide information about the
nature and procedures of the review. The dean or library director may grant an exemption to a faculty member or a librarian subject to
review if there are extenuating circumstances, such as health problems, or impending retirement.
                        USDC IN/ND case 2:22-cv-00137 document 1-1 filed 05/18/22 page 74 of 87
The review will be conducted by an elected committee composed of a minimum of three tenured faculty members from a given division,
and will exclude administrators at the level of department chair and above. The faculty member has the right to reject a committee
member in the case of a perceived conflict of interest.

The review committee may terminate the process if it finds that there is no basis for the review. The committee findings may fall under
three categories: a) some strengths and no deficiencies, in which case the review is terminated; b) some strengths and some deficiencies,
but not substantial or chronic, in which case the faculty member or librarian should be offered an opportunity for a development plan
through the review committee process, and c) substantial chronic deficiencies--in which case the committee shall state, in writing, the
specific deficiencies identified. The findings shall then be sent to the faculty member or librarian, and to the dean or library director.

The faculty member or librarian then cooperates with the committee in drawing up a faculty or librarian development plan. The plan
should a) identify specific strengths to be enhanced and deficiencies to be addressed; b) define goals or outcomes needed to remedy the
deficiencies; c) outline specific activities for the achievement of these goals and outcomes; d) set appropriate timelier for the completion
of these activities; e) indicate appropriate benchmarks for monitoring progress; f) indicate the criteria for annual progress reviews, and g)
identify sources of funding or institutional support, based on discussions with the dean or library director.

The plan becomes final upon the signatures of the faculty member or librarian, the dean, library director, and/or the department chair.
Signature indicates that the formulation of a faculty or library development plan has been completed and is ready for implementation. It
does not imply a faculty member or librarian's agreement with the findings.

The faculty member or librarian shall have the right of appeal, and retains all rights of appeal as specified in the IU Academic Handbook.

The faculty member or librarian and the review committee shall meet at least annually to review the faculty member or librarian's
progress towards remedying the deficiencies.

6. Reliance on peer review at every step

Peer review must be part of the process at every step. A minimum of three elected faculty members may constitute the faculty peer
group. The election would be divisional in scope, with the a posteriori exclusion of any member perceived to be in conflict of interest.
The faculty or librarian under review may also request that an off-campus professional be included in the peer review.

7. Incorporation of existing faculty review mechanisms

The program should incorporate the review mechanisms already in place to minimize the creation of duplicate processes. For example,
the existing process for annual reviews could be used as an initiating mechanism to identify those faculty members or librarians who
require an enhancement plan.

Since they must be able and willing to make difficult decisions in the rare instances where corrective measures are necessary, deans,
program directors, library directors, and department chairs should receive training on leadership and personnel management.
                       USDC IN/ND
8. Use of intermediate sanctions      case 2:22-cv-00137
                                 for unsatisfactory         document 1-1 filed 05/18/22 page 75 of 87
                                                    performance

The faculty member or librarian should be given the necessary institutional support for a successful outcome. Intermediate sanctions
prior to dismissal should be sought only after a properly conducted peer review; after due process of just cause initiation of review, and
after all practical attempts at performance enhancement within the specified time frame have been exhausted. The dean or library director
may then employ a variety of sanctions, developed with faculty input.

9. Initiation of dismissal proceedings

Initiation of dismissal proceedings, based on alleged unsatisfactory performance, may result from the inability to complete the faculty or
librarian development plan after intermediate sanctions have failed.

10. Specification of outcome criteria

Outcome criteria for assessing the effectiveness of the policy must be specified at the time of implementation of the policy, after the
review process has run its course. The implementation of the policy should follow with full disclosure to the department and--in the case
of dismissal--to the entire university faculty.
                             45C01-2204-PL-000273                                Filed: 4/18/2022 2:08 PM
                                                                                                     Clerk
    USDC IN/ND case 2:22-cv-00137Lake
                                   document
                                      Circuit Court1-1 filed 05/18/22 page 76 of 87 Lake County, Indiana




                                                             INDIANA UNIVERSITY
                                                                       NOHTHWEST

                                                                              4 May 2015



 Dr. Mark McPhail
 c/o College of Arts and Communication
 University or Wisconsin at Whitewater
 Whitewater, WI 53190

 Dear Dr. Mcl'hail:

 HE: l~xccutivc Vice Chancellor for Academic Affairs

 It is a pleasure to offer you the position of Executive Vice Chancellor for Academic Affoirs at
 Indiana University Norrhwest. You arc also offered a tenured appointment as Professor of
 Co111111unicatio11. The appointment begins on I August 2015.

Your annual salary will be $170,000. University policy requires that the salaries oral I senior
academic administrators comprise both an academic and an administrative component.
Consistent with this policy, your annual salary has two components: an academic base salary as a
faculty member(@ 80%) of $136,000 and an administrative base salary or$34,000. Each
component or your salary will be incremented annually, in compliance with University and
campus salary policies. 1r1he administrative title is relinquished, the administrative base salary
will be removed and the ten-month. academic-year salary will revert to I0/l 2l hs of the academic
base salary.

Comprehensive information concerning academic policies, appointments and responsibilities can
be ref'crcnced by following this link: http://policies.iu.edu/policies/catcgorics/acadcmic-foculty-
~lll(l_cJ1 ts/i ndcx .sh tm1

The full lncliuna University package of benefits will be available to you and, with the printed
copy or this letter, you will find enclosed a benefit summary for your information and review.
You will also find bcnclits described on the University's Human Resources web site
(http://ww11· . L11_,,d11/ -uhrs/). You will be contacted by University Human Rcsomcc Services
regarding yom benefit emollmcnl.

As we discussed, and in accordance with Indiana University policy I-310
(bU I?;/!J101ici.~s .i lJ. cdt1im>_Llgig~i'fil.!.cgQ1'h:~/!i 1m11c ia1/accoun ting-ad mini strati on/FIN-A CC-I-3 I0-
movi ng -cxpcnscs. sh tmI), you will have up to$ I0,000.00 available for moving expenses, which
can be apportioned between an initial move to Northwest Indiana during FY2015-16 and, if
necessary, a later household relocation, which may occur in f'Y2016-17. Also, prior lo your start
date in the Executive Vice Chonccllor's position, the Ill Northwest Office of the Chancellor will


                                                                                                                                                     Exhibit H
        Oir:t;;_: ol lh,; (!1,UKl'll,H   ::MOO Bro,1.-J,•,,11-   G:i1y, 46/408·
                                                                         IN       1197   1219) 980,6700   fax (219) 9P)'.).[}()70   \',\Wl,iun.edu
       USDC IN/ND case 2:22-cv-00137 document 1-1 filed 05/18/22 page 77 of 87

   Dr. Mark Mcl'hai I
  4 May 2015
   Page 2 01'2



  reimburse YOlll' expenses ii))' a trip to Northwest Indiana, I'll!' purposes of linding housing and
  preliminary discussions with your new campus colleagucs and me.

 Salary payments will be dcposited to yo\ll' bank savings or chccking account. New Indiana
 University employees arc subject to employment eligibility verification (led era I 1-9 compliance)
 and n criminal history check requircd by Indiana statute. This ofler is contingent on the
 University's veriJieation of credentials and other information required by state and federal law.
 Ms. Liz Romeo CLrQllll,,'@iun.edu), Administrative Assistant in the Office of Academic Aflilirs,
 will assist you with the employment vcrilicatioll and backgrollnd check, as well as the collection
 Or data to initiate the cmployment process.
 During yOlll' prior visit to our campus and region (,lI1d not later than the morning of the first day
 of your appointment), please arrange to visilthe IU Northwest I-Itlman Resources Ofl1cc
 (Marram Hall Room 118), lor a benefits and payroll orientation.

 Please confirm your acceptance of'this offer and the allcndnnttcrms by signing and dating the
 lellcr, as indicated, and returning u scunned copy by email allachmcntto me at your earliest
 convcnicnce. In the meantime, pleasc do not hesitate to lctmc know if[ can furnish any
 additional inlonnation or assist in any way.

 Thank you ii,r your intercst in Indiana University Northwest and sinccrest eongratnlations on
 your appointmcnt to this important leadcrship position. In behalf of our entirc IU Northwest
 community, welcomc. We look forward to working with you and huving your contribution to
 the continuing sliccess of our students and campus.

 I remain




                                                                 Y""~or~'-
                                                                    J.~i) )
                                                                William,J.
                                                                Chancellor
l I u u u u u a . u u . u a a . u l l .... uIlAIJUOIt81t1l • • • aua.u.CfIlIiIlIlIlIlIlIlIlU.UUUIl" • • 11811111111.U . . . . . . . . . . . I I I I .




 I acceptthc above oller of employment lor the position of Executive Vic" Chan celioI' for
Acn<icmic Affail's at Indiana University Northwest and I agree to begin full timc employmcnt on
:1 August 2015.


~J~~#(~P
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Signaturc                                                                                  Date
IVlark. L McPhail


                                                                         2
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                                  document
                                     Circuit Court1-1 filed 05/18/22 page 78 of 87 Lake County, Indiana




                                 STATE OF INDIANA
                           LAKE COUNTY SUPERIOR COURT


MARK MCPHAIL,                                              )
                                                           )
              Plaintiff,                                   )       CAUSE NO.:
                                                           )
      v.                                                   )
                                                           )
THE TRUSTEES OF INDIANA                                    )
UNIVERSITY, d/b/a INDIANA                                  )
UNIVERSITY NORTHWEST;                                      )
KEN IWAMA, in his individual and                           )
official capacities; VICKI ROMÁN-LAGUNAS,                  )
in her individual and official capacities; and             )
DAVID KLAMEN, in his individual and                        )
official capacities;                                       )
                                                           )
              Defendants.                                  )
                                                           )

              E-FILING APPEARANCE BY ATTORNEY IN CIVIL CASE

   1. The party on whose behalf this form is being filed is:
      Initiating __X__             Responding _____ Intervening ____ ; and
      the undersigned attorney and all attorneys listed on this form now appear in this case for
      the following parties:

      Name of party         Mark McPhail         _________________
      Address of party Contact through counsel____________
      Telephone # of party Contact through counsel _________

   2. Attorney information for service as required by Trial Rule 5(B)(2)

       Kathleen A. DeLaney                           Christopher S. Stake
       Attorney No. 18604-49                         Attorney No. 27356-53
       DELANEY & DELANEY LLC                         DELANEY & DELANEY LLC
       3646 N. Washington Blvd.                      3646 N. Washington Blvd.
       Indianapolis, IN 46205                        Indianapolis, IN 46205
       Phone: (317) 920-0400                         Phone: (317) 920-0400
       Fax: (317) 920-0404                           Fax: (317) 920-0404
       kdelaney@delaneylaw.net                       cstake@delaneylaw.net
      USDC IN/ND case 2:22-cv-00137 document 1-1 filed 05/18/22 page 79 of 87


IMPORTANT: Each attorney specified on this appearance:
    (a)     certifies that the contact information listed for him/her on the Indiana Supreme
            Court Roll of Attorneys is current and accurate as of the date of this
            Appearance;
    (b)     acknowledges that all orders, opinions, and notices from the court in this
            matter that are served under Trial Rule 86(G) will be sent to the attorney at
            the email address(es) specified by the attorney on the Roll of Attorneys
            regardless of the contact information listed above for the attorney; and
    (c)     understands that he/she is solely responsible for keeping his/her Roll of
            Attorneys contact information current and accurate, see Ind. Admis. Disc. R.
            2(A).
    Attorneys can review and update their Roll of Attorneys contact information on the
    Courts Portal at http://portal.courts.in.gov.

3.      This is a Civil-Plenary (PL)__ case type as defined in administrative Rule 8(B)(3).

4.      This case involves child support issues. Yes ____ No __x__

5.      This case involves a protection from abuse order, a workplace violence restraining order,
        or a no – contact order. Yes ____ No ___x_

6.      This case involves a petition for involuntary commitment. Yes ____ No _x__

7.      There are related cases: Yes ___ No __ x___ (If yes, list on continuation page.)

8.      Additional information required by local rule: n/a

9.      There are other party members: Yes ____ No x__ (If yes, list on continuation page.)

10.     This form has been served on all other parties and Certificate of Service is attached:
        Yes__ No _X_



                                                      Respectfully submitted,

                                                      /s/ Christopher S. Stake
                                                      Kathleen A. DeLaney (#18604-49)
                                                      Christopher S. Stake (#27356-53)
                                                      DELANEY & DELANEY LLC
                                                      3646 Washington Blvd.
                                                      Indianapolis, IN 46205
                                                      Tel: (317) 920-0400

                                                      Attorneys for Mark McPhail
                                 45C01-2204-PL-000273                                 Filed: 4/18/2022 2:08 PM
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        USDC IN/ND case 2:22-cv-00137Lakedocument
                                           Circuit Court1-1 filed 05/18/22 page 80 of 87 Lake County, Indiana
STATE OF INDIANA                   )                        IN THE LAKE SUPERIOR COURT
                                   ) SS:
COUNTY OF LAKE                     )                        CAUSE NO:

MARK MCPHAIL,                                                        )
                                                                     )
         Plaintiff,                                                  )
                                                                     )
         v.                                                          ) SUMMONS
                                                                     )
THE TRUSTEES OF INDIANA                                              )
UNIVERSITY, d/b/a INDIANA                                            )
UNIVERSITY NORTHWEST;                                                )
KEN IWAMA, in his individual and                                     )
official capacities; VICKI ROMÁN-LAGUNAS,                            )
in her individual and official capacities; and                       )
DAVID KLAMEN, in his individual and                                  )
official capacities;                                                 )
                                                                     )
                 Defendants.                                         )
                                                                     )

TO DEFENDANT:              David Klamen
                           Dean-School of the Arts, Chancellor’s Professor
                           Indiana University Northwest
                           3400 Broadway
                           Gary, IN 46408

         You are hereby notified that you have been sued by the persons named as plaintiff and in the Court indicated above.
        The nature of the suit against you is stated in the complaint which is attached to this Summons. It also states the relief
sought or the demand made against you by the plaintiff.
          An answer or other appropriate response in writing to the complaint must be filed either by you or your attorney within
twenty (20) days, commencing the day after you receive this Summons, (or twenty-three (23) days if this Summons was received
by mail), or a judgment by default may be rendered against you for the relief demanded by plaintiff. Such Answer must be made
in court.
        If you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you must assert it in
your written answer.
                 4/18/2022

Dated:
                                                             Clerk, Lake Superior Court


The following manner of service of summons is hereby designated.
         X       Registered or certified mail

 Kathleen A. DeLaney (#18604-49)                             Court Address:
 Christopher S. Stake (#27356-53)                            Lake County Superior Court
 DeLaney & DeLaney LLC                                       2293 N. Main Street
 3646 N. Washington Blvd.                                    Crown Point, IN 46307
 Indianapolis, IN 46205
                                                             Phone: 219-755-3000
 Phone: (317) 920-0400
 Attorneys for Plaintiff
                               SHERIFF’S
                   USDC IN/ND case         RETURNdocument
                                   2:22-cv-00137  ON SERVICE
                                                          1-1 OF
                                                              filedSUMMONS
                                                                    05/18/22 page 81 of 87
    I hereby certify that I have served this summons on the                                  day of                                     , 2022:

    (1) By delivering a copy of the Summons and a copy of the Complaint to defendant,                                                                                                           .

    (2) By leaving a copy of the Summons and a copy of the Complaint at                                                                                                    which is the dwelling
place or usual place of abode of
and by mailing a copy of said summons to said defendant at the above address.

    (3) Other Service or Remarks:

                                                                                                   ______________________________________________
                                                                                                   Sheriff

                                                                                             By:
                                                                                                               Deputy

                                               CLERK’S CERTIFICATE OF MAILING
    I hereby certify that on the             day of                                                , 2022, I mailed a copy of this Summons and a copy of the
Complaint to the defendant,                                                                          , by                            mail, requesting a return
receipt, at the address furnished by the plaintiff.


                                                                                                   Clerk, Lake Superior Court


Dated:                                                   , 2022.                                   By:
                                                                                                              Deputy

                                      RETURN ON SERVICE OF SUMMONS BY MAIL
     I hereby certify that the attached return receipt was received by me showing that the Summons and a copy of the complaint mailed
to defendant                                             was accepted by the defendant on the        day of                   , 2022. I
hereby certify that the attached return receipt was received by me showing that the Summons and a copy of the complaint was returned
not accepted on the              day of                               , 2022.
     I hereby certify that the attached return receipt was received by me showing that the Summons and a copy of the complaint mailed
to defendant                                    was accepted by                                         on behalf of said defendant on
the              day of                      , 2022.

                                                                   Clerk, Lake Superior Court

                                                                   By:
                                                                                             Deputy
                                                                                                                                      DAVID KLAMEN in is official and individual capacities;
                                                                                                                                      LAGUNAS in her official and individual capacities; and
                                                                                                                                      in his official and individual capacities; VICKI ROMÁN-
                                                                                                                                      INDIANA UNIVERSITY NORTHWEST; KEN IWAMA
                                                                                                                                      THE TRUSTEES OF INDIANA UNIVERSITY, d/b/a
         Indianapolis, IN 46205
         3646 Washington Blvd.
         DeLaney & DeLaney LLC
         Christopher S. Stake
         Kathleen A. DeLaney




                                                                    ____________ COURT NO.




                                                                                                                                                                                                            MARK MCPHAIL.,


                                                                                                                                                                                                                             Cause No.
                                                                                                                                                                                                v.
                                           SHERIFF’ S COSTS




                                                                                                    SUMMONS




                                                                                                                                                                                                                             Room No.
                                                                                                                        Defendants.




                                                                                                                                                                                                    Plaintiff,
                                 45C01-2204-PL-000273                                 Filed: 4/18/2022 2:08 PM
                                                                                                          Clerk
        USDC IN/ND case 2:22-cv-00137Lakedocument
                                           Circuit Court1-1 filed 05/18/22 page 82 of 87 Lake County, Indiana
STATE OF INDIANA                   )                        IN THE LAKE SUPERIOR COURT
                                   ) SS:
COUNTY OF LAKE                     )                        CAUSE NO:

MARK MCPHAIL,                                                        )
                                                                     )
         Plaintiff,                                                  )
                                                                     )
         v.                                                          ) SUMMONS
                                                                     )
THE TRUSTEES OF INDIANA                                              )
UNIVERSITY, d/b/a INDIANA                                            )
UNIVERSITY NORTHWEST;                                                )
KEN IWAMA, in his individual and                                     )
official capacities; VICKI ROMÁN-LAGUNAS,                            )
in her individual and official capacities; and                       )
DAVID KLAMEN, in his individual and                                  )
official capacities;                                                 )
                                                                     )
                 Defendants.                                         )
                                                                     )

TO DEFENDANT:              Ken Iwama
                           Chancellor
                           Indiana University Northwest
                           3400 Broadway
                           Gary, IN 46408

         You are hereby notified that you have been sued by the persons named as plaintiff and in the Court indicated above.
        The nature of the suit against you is stated in the complaint which is attached to this Summons. It also states the relief
sought or the demand made against you by the plaintiff.
          An answer or other appropriate response in writing to the complaint must be filed either by you or your attorney within
twenty (20) days, commencing the day after you receive this Summons, (or twenty-three (23) days if this Summons was received
by mail), or a judgment by default may be rendered against you for the relief demanded by plaintiff. Such Answer must be made
in court.
        If you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you must assert it in
your written answer.

              4/18/2022
Dated:
                                                             Clerk, Lake Superior Court


The following manner of service of summons is hereby designated.
         X       Registered or certified mail

 Kathleen A. DeLaney (#18604-49)                             Court Address:
 Christopher S. Stake (#27356-53)                            Lake County Superior Court
 DeLaney & DeLaney LLC                                       2293 N. Main Street
 3646 N. Washington Blvd.                                    Crown Point, IN 46307
 Indianapolis, IN 46205
                                                             Phone: 219-755-3000
 Phone: (317) 920-0400
 Attorneys for Plaintiff
                               SHERIFF’S
                   USDC IN/ND case         RETURNdocument
                                   2:22-cv-00137  ON SERVICE
                                                          1-1 OF
                                                              filedSUMMONS
                                                                    05/18/22 page 83 of 87
    I hereby certify that I have served this summons on the                                  day of                                     , 2022:

    (1) By delivering a copy of the Summons and a copy of the Complaint to defendant,                                                                                                           .

    (2) By leaving a copy of the Summons and a copy of the Complaint at                                                                                                    which is the dwelling
place or usual place of abode of
and by mailing a copy of said summons to said defendant at the above address.

    (3) Other Service or Remarks:

                                                                                                   ______________________________________________
                                                                                                   Sheriff

                                                                                             By:
                                                                                                               Deputy

                                               CLERK’S CERTIFICATE OF MAILING
    I hereby certify that on the             day of                                                , 2022, I mailed a copy of this Summons and a copy of the
Complaint to the defendant,                                                                          , by                            mail, requesting a return
receipt, at the address furnished by the plaintiff.


                                                                                                   Clerk, Lake Superior Court


Dated:                                                   , 2022.                                   By:
                                                                                                              Deputy

                                      RETURN ON SERVICE OF SUMMONS BY MAIL
     I hereby certify that the attached return receipt was received by me showing that the Summons and a copy of the complaint mailed
to defendant                                             was accepted by the defendant on the        day of                   , 2022. I
hereby certify that the attached return receipt was received by me showing that the Summons and a copy of the complaint was returned
not accepted on the              day of                               , 2022.
     I hereby certify that the attached return receipt was received by me showing that the Summons and a copy of the complaint mailed
to defendant                                    was accepted by                                         on behalf of said defendant on
the              day of                      , 2022.

                                                                   Clerk, Lake Superior Court

                                                                   By:
                                                                                             Deputy
                                                                                                                                      DAVID KLAMEN in is official and individual capacities;
                                                                                                                                      LAGUNAS in her official and individual capacities; and
                                                                                                                                      in his official and individual capacities; VICKI ROMÁN-
                                                                                                                                      INDIANA UNIVERSITY NORTHWEST; KEN IWAMA
                                                                                                                                      THE TRUSTEES OF INDIANA UNIVERSITY, d/b/a
         Indianapolis, IN 46205
         3646 Washington Blvd.
         DeLaney & DeLaney LLC
         Christopher S. Stake
         Kathleen A. DeLaney




                                                                    ____________ COURT NO.




                                                                                                                                                                                                            MARK MCPHAIL.,


                                                                                                                                                                                                                             Cause No.
                                                                                                                                                                                                v.
                                           SHERIFF’ S COSTS




                                                                                                    SUMMONS




                                                                                                                                                                                                                             Room No.
                                                                                                                        Defendants.




                                                                                                                                                                                                    Plaintiff,
                                 45C01-2204-PL-000273                                 Filed: 4/18/2022 2:08 PM
                                                                                                          Clerk
        USDC IN/ND case 2:22-cv-00137Lakedocument
                                           Circuit Court1-1 filed 05/18/22 page 84 of 87 Lake County, Indiana
STATE OF INDIANA                   )                        IN THE LAKE SUPERIOR COURT
                                   ) SS:
COUNTY OF LAKE                     )                        CAUSE NO:

MARK MCPHAIL,                                                        )
                                                                     )
         Plaintiff,                                                  )
                                                                     )
         v.                                                          ) SUMMONS
                                                                     )
THE TRUSTEES OF INDIANA                                              )
UNIVERSITY, d/b/a INDIANA                                            )
UNIVERSITY NORTHWEST;                                                )
KEN IWAMA, in his individual and                                     )
official capacities; VICKI ROMÁN-LAGUNAS,                            )
in her individual and official capacities; and                       )
DAVID KLAMEN, in his individual and                                  )
official capacities;                                                 )
                                                                     )
                 Defendants.                                         )
                                                                     )

TO DEFENDANT:              The Trustees of Indiana University
                           c/o W. Quinn Buckner, Chair
                           Franklin Hall 200
                           601 E. Kirkwood Avenue
                           Bloomington, IN 47405

         You are hereby notified that you have been sued by the persons named as plaintiff and in the Court indicated above.
        The nature of the suit against you is stated in the complaint which is attached to this Summons. It also states the relief
sought or the demand made against you by the plaintiff.
          An answer or other appropriate response in writing to the complaint must be filed either by you or your attorney within
twenty (20) days, commencing the day after you receive this Summons, (or twenty-three (23) days if this Summons was received
by mail), or a judgment by default may be rendered against you for the relief demanded by plaintiff. Such Answer must be made
in court.
        If you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you must assert it in
your written answer.

              4/18/2022
Dated:
                                                             Clerk, Lake Superior Court


The following manner of service of summons is hereby designated.
         X       Registered or certified mail

 Kathleen A. DeLaney (#18604-49)                             Court Address:
 Christopher S. Stake (#27356-53)                            Lake County Superior Court
 DeLaney & DeLaney LLC                                       2293 N. Main Street
 3646 N. Washington Blvd.                                    Crown Point, IN 46307
 Indianapolis, IN 46205
                                                             Phone: 219-755-3000
 Phone: (317) 920-0400
 Attorneys for Plaintiff
                               SHERIFF’S RETURN ON SERVICE OF SUMMONS
                   USDC IN/ND case 2:22-cv-00137 document 1-1 filed 05/18/22 page 85 of 87
    I hereby certify that I have served this summons on the                                  day of                                     , 2022:

    (1) By delivering a copy of the Summons and a copy of the Complaint to defendant,                                                                                                           .

    (2) By leaving a copy of the Summons and a copy of the Complaint at                                                                                                    which is the dwelling
place or usual place of abode of
and by mailing a copy of said summons to said defendant at the above address.

    (3) Other Service or Remarks:

                                                                                                   ______________________________________________
                                                                                                   Sheriff

                                                                                             By:
                                                                                                               Deputy

                                               CLERK’S CERTIFICATE OF MAILING
    I hereby certify that on the             day of                                                , 2022, I mailed a copy of this Summons and a copy of the
Complaint to the defendant,                                                                          , by                            mail, requesting a return
receipt, at the address furnished by the plaintiff.


                                                                                                   Clerk, Lake Superior Court


Dated:                                                   , 2022.                                   By:
                                                                                                              Deputy

                                      RETURN ON SERVICE OF SUMMONS BY MAIL
     I hereby certify that the attached return receipt was received by me showing that the Summons and a copy of the complaint mailed
to defendant                                             was accepted by the defendant on the        day of                   , 2022. I
hereby certify that the attached return receipt was received by me showing that the Summons and a copy of the complaint was returned
not accepted on the              day of                               , 2022.
     I hereby certify that the attached return receipt was received by me showing that the Summons and a copy of the complaint mailed
to defendant                                    was accepted by                                         on behalf of said defendant on
the              day of                      , 2022.

                                                                   Clerk, Lake Superior Court

                                                                   By:
                                                                                             Deputy
                                                                                                                                      DAVID KLAMEN in is official and individual capacities;
                                                                                                                                      LAGUNAS in her official and individual capacities; and
                                                                                                                                      in his official and individual capacities; VICKI ROMÁN-
                                                                                                                                      INDIANA UNIVERSITY NORTHWEST; KEN IWAMA
                                                                                                                                      THE TRUSTEES OF INDIANA UNIVERSITY, d/b/a
         Indianapolis, IN 46205
         3646 Washington Blvd.
         DeLaney & DeLaney LLC
         Christopher S. Stake
         Kathleen A. DeLaney




                                                                    ____________ COURT NO.




                                                                                                                                                                                                            MARK MCPHAIL.,


                                                                                                                                                                                                                             Cause No.
                                                                                                                                                                                                v.
                                           SHERIFF’ S COSTS




                                                                                                    SUMMONS




                                                                                                                                                                                                                             Room No.
                                                                                                                        Defendants.




                                                                                                                                                                                                    Plaintiff,
                                 45C01-2204-PL-000273                                 Filed: 4/18/2022 2:08 PM
                                                                                                          Clerk
        USDC IN/ND case 2:22-cv-00137Lakedocument
                                           Circuit Court1-1 filed 05/18/22 page 86 of 87 Lake County, Indiana
STATE OF INDIANA                   )                        IN THE LAKE SUPERIOR COURT
                                   ) SS:
COUNTY OF LAKE                     )                        CAUSE NO:

MARK MCPHAIL,                                                        )
                                                                     )
         Plaintiff,                                                  )
                                                                     )
         v.                                                          ) SUMMONS
                                                                     )
THE TRUSTEES OF INDIANA                                              )
UNIVERSITY, d/b/a INDIANA                                            )
UNIVERSITY NORTHWEST;                                                )
KEN IWAMA, in his individual and                                     )
official capacities; VICKI ROMÁN-LAGUNAS,                            )
in her individual and official capacities; and                       )
DAVID KLAMEN, in his individual and                                  )
official capacities;                                                 )
                                                                     )
                 Defendants.                                         )
                                                                     )

TO DEFENDANT:              Vicki Román-Lagunas
                           Vice Chancellor for Academic Affairs
                           Indiana University Northwest
                           3400 Broadway
                           Gary, IN 46408

         You are hereby notified that you have been sued by the persons named as plaintiff and in the Court indicated above.
        The nature of the suit against you is stated in the complaint which is attached to this Summons. It also states the relief
sought or the demand made against you by the plaintiff.
          An answer or other appropriate response in writing to the complaint must be filed either by you or your attorney within
twenty (20) days, commencing the day after you receive this Summons, (or twenty-three (23) days if this Summons was received
by mail), or a judgment by default may be rendered against you for the relief demanded by plaintiff. Such Answer must be made
in court.
        If you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you must assert it in
your written answer.

                      4/18/2022
Dated:
                                                             Clerk, Lake Superior Court


The following manner of service of summons is hereby designated.
         X       Registered or certified mail

 Kathleen A. DeLaney (#18604-49)                             Court Address:
 Christopher S. Stake (#27356-53)                            Lake County Superior Court
 DeLaney & DeLaney LLC                                       2293 N. Main Street
 3646 N. Washington Blvd.                                    Crown Point, IN 46307
 Indianapolis, IN 46205
                                                             Phone: 219-755-3000
 Phone: (317) 920-0400
 Attorneys for Plaintiff
                               SHERIFF’S
                   USDC IN/ND case         RETURNdocument
                                   2:22-cv-00137  ON SERVICE
                                                          1-1 OF
                                                              filedSUMMONS
                                                                    05/18/22 page 87 of 87
    I hereby certify that I have served this summons on the                                  day of                                     , 2022:

    (1) By delivering a copy of the Summons and a copy of the Complaint to defendant,                                                                                                           .

    (2) By leaving a copy of the Summons and a copy of the Complaint at                                                                                                    which is the dwelling
place or usual place of abode of
and by mailing a copy of said summons to said defendant at the above address.

    (3) Other Service or Remarks:

                                                                                                   ______________________________________________
                                                                                                   Sheriff

                                                                                             By:
                                                                                                               Deputy

                                               CLERK’S CERTIFICATE OF MAILING
    I hereby certify that on the             day of                                                , 2022, I mailed a copy of this Summons and a copy of the
Complaint to the defendant,                                                                          , by                            mail, requesting a return
receipt, at the address furnished by the plaintiff.


                                                                                                   Clerk, Lake Superior Court


Dated:                                                   , 2022.                                   By:
                                                                                                              Deputy

                                      RETURN ON SERVICE OF SUMMONS BY MAIL
     I hereby certify that the attached return receipt was received by me showing that the Summons and a copy of the complaint mailed
to defendant                                             was accepted by the defendant on the        day of                   , 2022. I
hereby certify that the attached return receipt was received by me showing that the Summons and a copy of the complaint was returned
not accepted on the              day of                               , 2022.
     I hereby certify that the attached return receipt was received by me showing that the Summons and a copy of the complaint mailed
to defendant                                    was accepted by                                         on behalf of said defendant on
the              day of                      , 2022.

                                                                   Clerk, Lake Superior Court

                                                                   By:
                                                                                             Deputy
                                                                                                                                      DAVID KLAMEN in is official and individual capacities;
                                                                                                                                      LAGUNAS in her official and individual capacities; and
                                                                                                                                      in his official and individual capacities; VICKI ROMÁN-
                                                                                                                                      INDIANA UNIVERSITY NORTHWEST; KEN IWAMA
                                                                                                                                      THE TRUSTEES OF INDIANA UNIVERSITY, d/b/a
         Indianapolis, IN 46205
         3646 Washington Blvd.
         DeLaney & DeLaney LLC
         Christopher S. Stake
         Kathleen A. DeLaney




                                                                    ____________ COURT NO.




                                                                                                                                                                                                            MARK MCPHAIL.,


                                                                                                                                                                                                                             Cause No.
                                                                                                                                                                                                v.
                                           SHERIFF’ S COSTS




                                                                                                    SUMMONS




                                                                                                                                                                                                                             Room No.
                                                                                                                        Defendants.




                                                                                                                                                                                                    Plaintiff,
